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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                         June 30, 2020
                      UNITED STATES DISTRICT COURT
                                                                      David J. Bradley, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION

ORLANDA DEL CARMEN PEÑA                    §
ARITA, individually and as next friend of §
D.M.A. and C.M.A. and as representative of §
the ESTATE OF MARCO ANTONIO                §
MUÑOZ,                                     §
                                           §
        Plaintiffs,                        §
VS.                                        § CIVIL ACTION NO. 7:19-cv-00288
                                           §
UNITED STATES OF AMERICA;                  §
ALVARO A. GUAJARDO-MARTINEZ, in §
individual capacity; CHRISTOPHER R.        §
GARZA, in individual capacity; ABRAM §
LERMA, in individual capacity; JORGE       §
FLORES, in individual capacity;            §
UNKNOWN UNITED STATES                      §
CUSTOMS AND BORDER                         §
PROTECTION AGENTS; COUNTY OF §
STARR, TEXAS; RENE “ORTA”                  §
FUENTES, in official capacity; HECTOR §
LOPEZ III, in official and individual      §
capacity; CRECENCIO GALVAN, in             §
official and individual capacity;          §
EVELARIO GARZA, in official and            §
individual capacity; CLYDE GUERRA, in §
official and individual capacity; ALEX     §
GARCIA, in official and individual         §
capacity; SAMMY MARROQUIN, in              §
official and individual capacity; RAUL     §
GARCIA, in official and individual         §
capacity; and UNKNOWN STARR                §
COUNTY DETENTION OFFICERS,                 §
                                           §
        Defendants.                        §




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                                          OPINION AND ORDER

         The Court now considers 29 briefs: “Defendant United States of America’s Motion to

Dismiss All Claims in Plaintiffs’ Second Amended Complaint Against Defendant United States

of America;”1 Plaintiffs’ response;2 and the United States’ reply;3 the “Individual Federal

Defendants’ Motion to Dismiss” filed on behalf of Border Patrol Defendants Alvaro A.

Guajardo-Martinez, Christopher R. Garza, Abram Lerma, and Jorge Flores;4 Plaintiffs’

response;5 and Border Patrol agents’ reply6 and supplemental authority;7 the seriatim motions to

dismiss filed by Starr County and the Starr County Sheriff and Starr County Jail employees;8

Plaintiffs’ responses;9 and Defendants Sammy Marroquin’s and Raul Garcia’s reply;10 the

“Opposed Motion to Stay Discovery and Disclosure” filed on behalf of Defendants Starr County,

Rene “Orta” Fuentes, Hector Lopez, Evelario Garza, Crecencio Galvan, Clyde Guerra, and Alex

Garcia;11 Plaintiffs’ response;12 and Border Patrol Defendants’ opposition to discovery;13 and

“Plaintiff’s [sic] Motion for Leave to File Third Amended Complaint,”14 Defendants’

responses;15 Plaintiffs’ reply;16 Plaintiffs’ supplemental “Advisory to the Court” of supporting

facts,17 and certain Defendants’ response to the advisory.18 In summary, Defendants move to


1
  Dkt. No. 99.
2
  Dkt. No. 116.
3
  Dkt. No. 121.
4
  Dkt. No. 124.
5
  Dkt. No. 133.
6
  Dkt. No. 136.
7
  Dkt. No. 140.
8
  Dkt. Nos. 125–131, 142–143.
9
  Dkt. Nos. 134, 146.
10
   Dkt. No. 150. No other reply brief was filed on behalf of Starr County, the Starr County sheriff, or the Starr
County Jail employees. This brief also addresses the “Opposed Motion to Stay Discovery and Disclosure.”
11
   Dkt. No. 132.
12
   Dkt. No. 135.
13
   Dkt. No. 139.
14
   Dkt. No. 144.
15
   Dkt. Nos. 145, 148–149.
16
   Dkt. No. 152.
17
   Dkt. No. 153.


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dismiss the operative Second Amended Complaint, Defendants move to stay discovery, and

Plaintiffs want to file a Third Amended Complaint which Defendants oppose. After considering

the motions, record, and relevant authorities, the Court GRANTS all motions to dismiss,

GRANTS IN PART and DENIES IN PART Plaintiffs’ motion to amend and DENIES AS

MOOT the motion to stay discovery.

     I. BACKGROUND AND PROCEDURAL HISTORY

         This is a civil rights lawsuit arising out of a jail suicide on May 13, 2018.19 This case

commenced with an original complaint on August 18, 2019.20 Plaintiffs amended as a matter of

course on September 4, 2019, to add Defendants.21 Plaintiffs sought further leave to amend to

cure admitted defects in the First Amended Complaint on October 2, 2019, before any Defendant

had filed a responsive pleading, which this Court granted on October 10th.22 Plaintiffs’ “Second

Amended Complaint” is therefore the live pleading,23 and the Court will draw all background

facts as alleged from that complaint.

         This case arises from the tragic suicide of Marco Antonio Muñoz while he was detained

at the Starr County Jail. In April 2018, then-United States Attorney General Jeff Sessions

implemented zero tolerance and family separation policies for individuals detained under

suspicion of committing an illegal entry offense24 at the United States’ southwestern

international land border.25 Around April and May 2018, husband and wife Marco Antonio

Muñoz and Plaintiff Orlanda del Carmen Peña Arita and their 3-year-old son D.M.A. left their


18
   Dkt. No. 154.
19
   See Dkt. No. 61 at 16, ¶ 85.
20
   Dkt. No. 1.
21
   Dkt. No. 16; FED. R. CIV. P. 15(a)(1).
22
   Dkt. No. 60.
23
   Id. at 3.
24
   See 8 U.S.C. § 1325.
25
   Dkt. No. 61 at 10–11, ¶¶ 34–37. See Memorandum for Federal Prosecutors Along the Southwest Border (Apr. 6,
2018), https://www.justice.gov/opa/press-release/file/1049751/download.


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coffee farm in Honduras, after circumstances indicated that Mr. Muñoz’s brother-in-law was

killed for political reasons. The family traveled to the United States’ international border with

Mexico near Granjeno, Texas, where they crossed the border and United States Customs and

Border Protection (CBP) agents promptly took them into custody on May 11, 2018.26 Mr. Muñoz

requested medical aid for blisters on his feet, but at no time did CBP agents cause medical aid to

be provided.27 CBP separated Mr. Muñoz from his family despite his “distraught” behavior.28

CBP initially placed Mr. Muñoz in the McAllen Processing Center, but eventually took him to

the Starr County Jail, during which Mr. Muñoz damaged the transportation vehicle by kicking

the interior.29 CBP agents transferred custody of Mr. Muñoz to “Starr County detention officers,”

who Mr. Muñoz physically battled, and Starr County jailers placed Mr. Muñoz in a padded cell

in the Starr County Jail.30 Plaintiffs allege that authorities should have sought medical or

psychiatric care for Mr. Muñoz and that jailers should have been checking on Mr. Muñoz, but

failed to do so.31 While in the Starr County Jail, Mr. Muñoz improvised a long-sleeved article of

clothing32 into a noose by tying both sleeves to a floor grate, then inserting his head into the loop

and twisting his body until the sleeves tightened and ultimately asphyxiated Mr. Muñoz, killing

him on the morning of May 13, 2018.33 Plaintiffs bring causes of action under the Federal Tort

Claims Act against the United States,34 a Bivens claim against all CBP agents in their individual

capacities,35 a civil rights claim under 42 U.S.C. § 1983 against Starr County and its Sheriff in

official capacities and against Starr County employees in their individual and official capacities,

26
   Dkt. No. 61 at 11, ¶¶ 40–45.
27
   See id. at 11–12, ¶¶ 42, 46, 54.
28
   Id. at 12–13, ¶¶ 49–60.
29
   Id. at 13–14, ¶¶ 61–66.
30
   Id. at 14–15, ¶¶ 70–77.
31
   Id. at 15–16, ¶¶ 79–84.
32
   A sweater. See Dkt. No. 153-1 at 14, ¶ 15.
33
   Id. at 16–17, ¶¶ 85–89.
34
   28 U.S.C. § 1346(b).
35
   See Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971).


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and a claim for violation of the Americans with Disabilities Act36 and the Rehabilitation Act37

against Starr County in Plaintiffs’ Second Amended Complaint.38

         This Court held an initial pretrial and scheduling conference on February 25, 2020. 39 The

Court granted until March 26, 2020, to complete service of process on two outstanding

Defendants.40 The Court also “indicated it will assess whether limited discovery on the issue of

qualified immunity is necessary after ruling on the motions to dismiss.”41 The various motions

are ripe for consideration.

     II. PRELIMINARY ISSUES

         This Court must satisfy its Article III jurisdiction over this case.42 This Court has

jurisdiction under 28 U.S.C. §§ 1331, 1346, 1402. Venue is proper in this Court under 28 U.S.C.

§§ 1391(b) and 124(b)(7).

         The Court notes that some briefs lack numbered paragraphs entirely, hindering the

Court’s reference to certain arguments. The Court cautions all parties that submissions must

consistently number each paragraph to properly comply with the Federal Rules of Civil

Procedure.43




36
   See 42 U.S.C. § 12132.
37
   See 29 U.S.C. § 701.
38
   Dkt. No. 61 at 17–26, ¶¶ 94–155.
39
   Minute Entry (Feb. 25, 2020).
40
   Id.
41
   Id.
42
   Steel Co. v. Citizens for a Better Env't, 523 U.S. 83 (1998).
43
   FED. R. CIV. P. 7(b)(2) (“The rules governing captions and other matters of form in pleadings apply to motions
and other papers.”); FED. R. CIV. P. 10(b) (emphasis added) (“A party must state its claims or defenses in numbered
paragraphs, each limited as far as practicable to a single set of circumstances.”).


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     III. MOTION TO AMEND AND MOTIONS TO DISMISS

         The Court first turns to Plaintiffs’ motion to amend44 because such will determine the

operative allegations to assess whether Plaintiffs’ claims should be dismissed. Plaintiffs’ chief

objective with the amended complaint is to “remove claims against Starr County jailers in their

official capacity only, and add factual allegations detailing the actions and omissions of the

individual defendants in this lawsuit.”45 However, because Plaintiffs admit that whether the

Court should grant leave to amend partly turns on whether Plaintiffs have stated valid claims in

the Second Amended Complaint,46 the Court considers the briefs on the motions to dismiss

together with Plaintiffs’ motion to amend.

         a. Legal Standards

         Federal Rule of Civil Procedure 12(b)(1) permits motions to dismiss for “lack of subject-

matter jurisdiction.” “Under Rule 12(b)(1), a claim is ‘properly dismissed for lack of subject-

matter jurisdiction when the court lacks the statutory or constitutional power to adjudicate’ the

claim,”47 because federal courts only have jurisdiction to decide controversies as conferred by

the United States Constitution or by statute.48 Motions under Rule 12(b)(1) are to be considered

first, before addressing any attack on the merits,49 because while the Court has jurisdiction to

determine its jurisdiction,50 it cannot exercise any “judicial action” other than dismissal when the




44
   Dkt. No. 144.
45
   Id. at 2, ¶ 2.
46
   Id. at 4, ¶ 10 (“Here, for the reasons outlined in Plaintiff’s responses to the Defendants’ motions to dismiss, see
Dkt. Nos. 116, 133, 134, Plaintiff has stated valid claims for relief stemming from Mr. Muñoz’s death caused by the
actions and inactions of Defendants.”).
47
   In re FEMA Trailer Formaldehyde Prod. Liab. Litig., 668 F.3d 281, 286 (5th Cir. 2012) (quoting Home Builders
Ass'n v. City of Madison, 143 F.3d 1006, 1010 (5th Cir.1998)).
48
   Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
49
   In re FEMA Trailer, 668 F.3d at 286 (citing Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001)).
50
   United States v. Ruiz, 536 U.S. 622, 628 (2002) (“[I]t is familiar law that a federal court always has jurisdiction to
determine its own jurisdiction.”).


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Court lacks jurisdiction.51 If any party attacks the Court’s jurisdiction, “the party asserting

jurisdiction bears the burden of proof on a 12(b)(1) motion to dismiss.”52 In assessing the Court’s

jurisdiction, “the district court is to accept as true the allegations and facts set forth in the

complaint,”53 and may “dismiss for lack of subject matter jurisdiction on any one of three

separate bases: (1) the complaint alone; (2) the complaint supplemented by undisputed facts

evidenced in the record; or (3) the complaint supplemented by undisputed facts plus the court's

resolution of disputed facts.”54 Accordingly, the Court may consider evidence outside the

pleadings to determine subject matter jurisdiction.55 Ultimately, “[a] motion to dismiss for lack

of subject matter jurisdiction should be granted only if it appears certain that the plaintiff cannot

prove any set of facts in support of his claim that would entitle plaintiff to relief.”56

         As for Plaintiffs’ attempt to amend the complaint, after amending a pleading once as a

matter of course,57 “a party may amend its pleading only with the opposing party’s written

consent or the court’s leave.”58 Plaintiffs admit that they have already twice amended their

complaint,59 so the instant motion to amend requires the Court’s leave. “Leave to amend is in no

way automatic, but the district court must possess a substantial reason to deny a party’s request

for leave to amend.”60 In determining whether to allow leave to amend a pleading, courts

examine whether there is (1) undue delay; (2) bad faith or dilatory motive; (3) repeated failure to

cure deficiencies by previous amendments; (4) undue prejudice to the opposing party; and (5)


51
   Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 94 (1998).
52
   Life Partners Inc. v. United States, 650 F.3d 1026, 1029 (5th Cir. 2011).
53
   Choice Inc. of Tex. v. Greenstein, 691 F.3d 710, 714 (5th Cir. 2012).
54
   Id. (quoting Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981)).
55
   Williams v. Wynne, 533 F.3d 360, 365 n.2 (5th Cir. 2008); Ramming v. United States, 281 F.3d 158, 161 (5th Cir.
2001).
56
   Choice Inc. of Tex., 691 F.3d at 714 (quoting Ramming, 281 F.3d at 161).
57
   See FED. R. CIV. P. 15(a)(1).
58
   FED. R. CIV. P. 15(a)(2).
59
   Dkt. No. 144 at 1–2, ¶¶ 1–2.
60
   Marucci Sports, L.L.C. v. Nat’l Collegiate Athletic Ass’n, 751 F.3d 368, 378 (5th Cir. 2014) (quotation omitted).


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futility of the amendment.61 As to the fifth factor, the Fifth Circuit has held that courts “need not

indulge in futile gestures. Where a complaint, as amended, would be subject to dismissal, leave

to amend need not be granted.”62 Absent such factors, the Court should freely grant the requested

leave.63 Nonetheless, the decision whether to grant leave to amend lies within the Court’s sound

discretion.64 “At some point a court must decide that a plaintiff has had a fair opportunity to

make his case; if, after that time, a cause of action has not been established,” this Court will

dismiss the suit.65

         To determine whether a proposed amended complaint is futile, and when evaluating

motions to dismiss for failure to state a claim, the Court applies the Federal Rule of Civil

Procedure 12(b)(6) standard.66 Under Rule 12(b)(6), to avoid dismissal, the complaint “must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’”67 The Court accepts all well-pleaded facts as true (even if doubtful or suspect68) and

views those facts in the light most favorable to the plaintiff (because a Rule 12(b)(6) motion is

viewed with disfavor69), but will not strain to find inferences favorable to the plaintiff.70 A

plaintiff need not plead detailed factual allegations, but must plead more than “‘naked

assertion[s] devoid of ‘further factual enhancement’” or “[t]hreadbare recitals of the elements of



61
   SGK Props., L.L.C. v. U.S. Bank Nat’l Ass’n, 881 F.3d 933, 944 (5th Cir.) (quoting Smith v. EMC Corp., 393 F.3d
   590, 595 (5th Cir. 2004)), cert. denied, 139 S. Ct. 274 (2018).
62
    United States ex rel. Jackson v. Univ. of N. Tex., 673 F. App’x 384, 388 (5th Cir. 2016) (quoting DeLoach v.
Woodley, 405 F.2d 496, 496–97 (5th Cir. 1968) (per curiam)).
63
   Foman v. Davis, 371 U.S. 178, 182 (1962).
64
   Smith, 393 F.3d at 595 (quoting Quintanilla v. Tex. Television, Inc., 139 F.3d 494, 499 (5th Cir. 1998)).
65
   Gentilello v. Rege, 627 F.3d 540, 546 (5th Cir. 2010) (quoting Jacquez v. Procunier, 801 F.2d 789, 792 (5th Cir.
1986)).
66
   Stripling v. Jordan Prod. Co., 234 F.3d 863, 873 (5th Cir. 2000).
67
   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
68
   Twombly, 550 U.S. at 555–56.
69
   Leal v. McHugh, 731 F.3d 405, 410 (5th Cir. 2013) (quoting Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011)
(“This court construes facts in the light most favorable to the nonmoving party, ‘as a motion to dismiss under
12(b)(6) “is viewed with disfavor and is rarely granted.”’”).
70
   Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008).


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a cause of action, supported by mere conclusory statements” to survive a motion to dismiss.71

Courts first disregard any conclusory allegations or legal conclusions72 as not entitled to the

assumption of truth,73 and then undertake the “context-specific” task, drawing on judicial

experience and common sense, of determining whether the remaining well-pled allegations give

rise to entitlement to relief.74 “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.”75 Courts have “jettisoned the [earlier] minimum notice pleading

requirement”76 and the complaint must plead facts that “nudge” the claims “across the line from

conceivable to plausible.”77 The complaint must plead every material point necessary to sustain

recovery; dismissal is proper if the complaint lacks a requisite allegation.78 However, the

standard is only “to determine whether the plaintiff has stated a legally cognizable claim that is

plausible, not to evaluate the plaintiff’s likelihood of success.”79 In this particular case,

“[b]ecause vicarious liability is inapplicable to Bivens and § 1983 suits, a plaintiff must plead

that each Government-official defendant, through the official's own individual actions, has

violated the Constitution.”80



71
   Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557); see also id. at 679 (holding that a complaint that
“do[es] not permit the court to infer more than the mere possibility of misconduct” does not suffice to state a claim).
72
   In re Great Lakes Dredge & Dock Co. LLC, 624 F.3d 201, 210 (5th Cir. 2010) (quotation omitted) (“We do not
accept as true conclusory allegations, unwarranted factual inferences, or legal conclusions.”).
73
   Mustapha v. HSBC Bank USA, NA, No. 4:11-CV-0428, 2011 WL 5509464, at *2 (S.D. Tex. Nov. 10, 2011)
(Hanks, J.) (“[A] court is not required to accept conclusory legal allegations cast in the form of factual allegations if
those conclusions cannot reasonably be drawn from the facts alleged.”).
74
   Iqbal, 556 U.S. at 678–79; see also Fernandez-Montez v. Allied Pilots Ass'n, 987 F.2d 278, 284 (5th Cir. 1993)
(“[C]onclusory allegations or legal conclusions masquerading as factual conclusions will not suffice to prevent a
motion to dismiss”).
75
   Iqbal, 556 U.S. at 678.
76
   St. Germain v. Howard, 556 F.3d 261, 263 n.2 (5th Cir. 2009).
77
   Iqbal, 556 U.S. at 680 (quoting Twombly, 550 U.S. at 570).
78
   Rios v. City of Del Rio, 444 F.3d 417, 421 (5th Cir. 2006); accord Campbell v. City of San Antonio, 43 F.3d 973,
975 (5th Cir. 1995).
79
   Doe ex rel. Magee v. Covington Cty. Sch. Dist. ex rel. Keys, 675 F.3d 849, 854 (5th Cir. 2012) (quoting Lone Star
Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010))
80
   Iqbal, 556 U.S. at 676.


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          The Court is limited to assessing only the complaint, its proper attachments, documents

incorporated into the complaint by reference, and matters of which the Court may take judicial

notice.81 Because the focus is on the pleadings, “if, on a motion under Rule 12(b)(6) or 12(c),

matters outside the pleadings are presented to and not excluded by the court, the motion must be

treated as one for summary judgment under Rule 56,”82 but not if a Defendant attaches

documents to a motion to dismiss that are “referred to in the plaintiff’s complaint and are central

to her claim.”83

          b. Analysis

          Plaintiffs assert that none of the five warning factors cutting against permitting leave to

amend are present.84 As for futility, Plaintiffs rely on their three response briefs to Defendants’

motions to dismiss to establish that the proposed Third Amended Complaint would not be

futile.85 Accordingly, Plaintiffs are asserting that both the Second and Third Amended Complaint

state valid claims for relief; the proposed amendment merely adds “specificity to [Plaintiffs’]

claims against the individual Defendants, based on information uncovered in the Texas Ranger’s

investigation into Mr. Muñoz’s death.”86 All Defendants respond that Plaintiffs’ proposed

amended complaint would be futile for failure to state a plausible claim to relief. 87 Defendants

also make arguments particular to them, such as the CBP agents’ argument that Plaintiffs cannot

state a Bivens claim against them,88 which the Court will assess below. Accordingly, the Court

will henceforth refer to Plaintiffs’ allegations as they are stated in the proposed Third Amended



81
   Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008).
82
   FED. R. CIV. P. 12(d).
83
   Causey v. Sewell Cadillac–Chevrolet, 394 F.3d 285, 288 (5th Cir. 2004).
84
   Dkt. No. 144 at 3–5, ¶¶ 6–11.
85
   Id. at 4, ¶ 10.
86
   Id. at 5, ¶ 11.
87
   Dkt. No. 145 at 1, ¶ 1; Dkt. No. 148 at 1, ¶ 1, Dkt. No. 149 at 15.
88
   Dkt. No. 145 at 2–3, ¶ 3.


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Complaint, to test whether amendment would be futile. As noted, the Court need not grant leave

to amend where the proposed amendment would fail to state a claim.89

             1. Whether the Proposed Amended Complaint is Futile

                 i. Federal Tort Claims Act Claims Against Defendant United States

          The Court first turns to Plaintiffs’ first through third causes of action in the proposed

Third Amended Complaint, the Federal Tort Claims Act claims for intentional infliction of

emotional distress, negligence, and gross negligence against the United States of America.90

          The Federal Tort Claims Act (FTCA) is a partial waiver of sovereign immunity. 91 “A

plaintiff may only sue the United States if a federal statute explicitly provides for a waiver of

sovereign immunity. The United States must consent to be sued, and that consent is a

prerequisite to federal jurisdiction. . . . The FTCA is recognized as providing a waiver of

sovereign immunity and provides the sole basis of recovery for tort claims against the United

States.”92 Generally, the Federal Tort Claims Act will cause the United States to be liable “in the

same manner and to the same extent as a private individual under like circumstances.”93

Nevertheless, the United States has not consented to all suits and the FTCA contains certain

exceptions and limitations. In its motion to dismiss, the United States makes seven arguments in

favor of dismissal of Plaintiffs’ claims under the FTCA: (1) Plaintiffs have failed to exhaust

administrative remedies; (2) the “independent contractor exception” bars Plaintiffs’ claims; (3)

the “discretionary function exception” bars Plaintiffs’ claims; (4) there is no cause of action for

separating families for purposes of criminal prosecution; and (5) Plaintiffs have failed to state a



89
   See supra note 62.
90
   Dkt. No. 144-1 at 25–29.
91
   See Sovereign Immunity, BLACK’S LAW DICTIONARY (11th ed. 2019) (“A government's immunity from being sued
in its own courts without its consent.”).
92
   In re FEMA Trailer Formaldehyde Prod. Liab. Litig., 668 F.3d 281, 287 (5th Cir. 2012).
93
   Id. (citing 28 U.S.C. §§ 1346, 2674).


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claim for negligence, (6) gross negligence, and (7) intentional infliction of emotional distress.94

Defendant United States’ third argument should have come first, because it is jurisdictional and

thus a preliminary determination for the Court before reaching any of the merits. 95 The Court

finds the jurisdictional argument dispositive for the reasons elaborated below and thus has no

occasion to reach, and makes no determination upon, the United States’ other arguments in favor

of dismissal.

          Defendant United States urges that one of the limitations of the Federal Tort Claims Act

bars Plaintiffs’ claims. The United States argues that “[t]he Court lacks subject matter

jurisdiction over Plaintiffs’ FTCA claims pursuant to the discretionary function exception [of the

FTCA], which jurisdictionally bars FTCA claims ‘based upon the exercise or performance or the

failure to exercise or perform a discretionary function or duty on the part of a federal agency or

an employee of the Government, whether or not the discretion involved be abused.’”96 The

discretionary function exception shields conduct undertaken even without due care. 97 The United

States argues that both the decision to separate Mr. Muñoz from his family for the purpose of

criminal prosecution and to detain Mr. Muñoz in the Starr County Jail were discretionary

decisions that the Court is without jurisdiction to second-guess.98 Plaintiffs argue that the family

separation was required, not discretionary,99 and that Plaintiffs are challenging the failure to

provide nondiscretionary medical care to Mr. Muñoz while he was in custody, not the choice on

location of detention.100 The United States replies that the family separation policy was

implemented under the United States Attorney General’s discretion and is applied with discretion


94
   Dkt. No. 99.
95
   See supra note 49.
96
   Dkt. No. 99 at 25 (quoting 28 U.S.C. § 2680(a)).
97
   Buchanan v. United States, 915 F.2d 969, 971 (5th Cir. 1990).
98
   Dkt. No. 99 at 27–31.
99
   Dkt. No. 116 at 20, ¶¶ 39–40.
100
    Id. at 20–21, ¶¶ 41–43.


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and that, even if the policy was mandatory, the directive was followed, so the discretionary

function exception applies.101 Further, the decisions on to whom to release Mr. Muñoz and what

kind of medical care to provide to him were all exercises of discretion. 102 The Court turns to the

analysis.

          “The discretionary function exception is one of several limitations on the FTCA’s waiver

[of sovereign immunity]. The exception preserves the government’s sovereign immunity when

the plaintiff’s claim is based on an act by a government employee that falls within that

employee’s discretionary authority.”103 The purpose of the discretionary function exception “is to

prevent judicial ‘second-guessing’ of legislative and administrative decisions grounded in social,

economic and political policy through tort actions” and to protect the government from liability

that would seriously handicap government operations.104 Essentially, the Federal Tort Claims

Act is not designed to make every government employees’ decision that a plaintiff feels wronged

by subject to judicial review, but to give some relief to plaintiffs injured by government

employees’ nongovernmental conduct. The Supreme Court gave the following example:

          There are obviously discretionary acts performed by a Government agent that are
          within the scope of his employment but not within the discretionary function
          exception because these acts cannot be said to be based on the purposes that the
          regulatory regime seeks to accomplish. If one of the officials involved in this case
          drove an automobile on a mission connected with his official duties and
          negligently collided with another car, the exception would not apply. Although
          driving requires the constant exercise of discretion, the official's decisions in
          exercising that discretion can hardly be said to be grounded in regulatory
          policy.105


101
    Dkt. No. 121 at 6–8, ¶¶ 13–17.
102
    Id. at 10–11, ¶¶ 22–26.
103
    Tsolmon v. United States, 841 F.3d 378, 382 (5th Cir. 2016) (citing 28 U.S.C. § 2680(a)).
104
    Lakomy v. United States, 70 F. App'x 199, 205 & n.2 (5th Cir. 2003); accord United States v. Gaubert, 499 U.S.
315, 323 (1991) (holding that the purpose of the discretionary function exception is to “is to prevent judicial
‘second-guessing’ of legislative and administrative decisions grounded in social, economic, and political policy
through the medium of an action in tort[;] when properly construed, the exception protects only governmental
actions and decisions based on considerations of public policy”).
105
    Gaubert, 499 U.S. at 325 n.7.


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As a further example, the Supreme Court held the United States Coast Guard’s decision whether

to operate a lighthouse would be protected by the discretionary function exception, but once the

Coast Guard undertook to operate the lighthouse, “the failure to maintain the lighthouse in good

condition subjected the Government to suit under the FTCA. The latter course of conduct did not

involve any permissible exercise of policy judgment.”106

          Accordingly, the rule for analyzing the discretionary function exception and whether an

official’s actions will be within the exception “involves two inquiries: (1) the conduct must be a

matter of choice for the acting employee, and (2) the judgment [must be] of the kind that the

discretionary function exception was designed to shield. The plaintiff has the burden of

establishing that the discretionary function exception does not apply.”107 The first prong requires

only an element of judgment or choice; even if a regulation is mandatory with respect to what is

to be done about designated inmates, the discretion about whether to effect that designation still

involves an element of judgment.108 The second prong means that, “even if conduct violated a

discretionary policy, a complaint may still survive a motion to dismiss (in other words, sovereign

immunity would not require dismissal), if it ‘allege[s] facts which would support a finding that

the challenged actions are not the kind of conduct that can be said to be grounded in the policy of

the regulatory regime.’”109 In other words, as this Court has held in assessing the second prong of

the discretionary function exception, “[w]hat matters is not whether the employee engaged in

some analysis of policy choices before taking the specific actions at issue, but merely whether

the actions the employee took are ‘susceptible to policy analysis.’”110 So it “is not enough to


106
    Berkovitz by Berkovitz v. United States, 486 U.S. 531, 538 n.3 (1988) (citing Indian Towing Co. v. United States,
350 U.S. 61, 69 (1955)).
107
    Tsolmon, 841 F.3d at 382 (alteration in original) (internal quotation marks and citations omitted).
108
    See Patel v. United States, 398 F. App'x 22, 29 (5th Cir. 2010).
109
    Cuevas v. Westerman, No. 1:14-CV-133, 2016 WL 11529760, at *5 (S.D. Tex. Nov. 10, 2016) (Hanen, J.)
(quoting United States v. Gaubert, 499 U.S. 315, 324–25 (1991)).
110
    Id. at *7.


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establish that an activity is not mandated by statute and involves some element of judgment or

choice; to [prevent] dismissal of the suit, the [plaintiff] must also establish that the decision in

question was [not] grounded in considerations of public policy.”111 Where conduct is permitted

by the applicable law or policy, the Court is to make the “strong presumption” that “the exercise

of choice or judgment implicates relevant policy,”112 in other words, “a discretionary act

authorized by the regulation involves consideration of the same policies which led to the

promulgation of the regulations.”113 Furthermore, the Court strictly construes the waiver of

sovereign immunity in favor of the United States.114

          Importantly, however, the discretionary function exception does not apply to conduct

“marked by individual carelessness or laziness.”115 In the case of careless inattention or

negligence, the discretionary function exception is no shield “because no policy considerations

would be implicated.”116 This is because “negligence unrelated to any plausible policy

objectives” is not shielded by the discretionary function exception.117 The Northern District of

Texas endorsed the following reasoning of the Second Circuit:

          We acknowledge that the text of [§ 2680] is somewhat ambiguous, and
          conceivably could be interpreted to bar damage suits based on any actions or
          decisions that are not directly controlled by statute or regulation. In particular, it is
          unclear what weight to give to the concluding phrase of [§ 2680], which asserts
          that the exception is applicable “whether or not the discretion involved be
          abused.” 28 U.S.C. § 2680(a). Reading the words out of context, one might
          characterize an official's lazy or careless failure to perform his or her discretionary

111
    McKinney v. United States, 950 F. Supp. 2d 923, 928–29 (N.D. Tex. 2013) (quoting Coulthurst, 214 F.3d at 110),
aff’d, McKinney v. United States, 584 F. App'x 229 (5th Cir. 2014). The alterations in the quote are because, in the
Fifth Circuit, the “plaintiff has the burden of . . . establishing that the discretionary function exception does not
apply.” Spotts v. United States, 613 F.3d 559, 569 (5th Cir. 2010) (citing St. Tammany Par., ex rel. Davis v. Fed.
Emergency Mgmt. Agency, 556 F.3d 307, 315 n.3 (5th Cir. 2009)).
112
    Freeman v. United States, 556 F.3d 326, 341 (5th Cir. 2009).
113
    United States v. Gaubert, 499 U.S. 315, 324 (1991).
114
    Patel v. United States, 398 F. App'x 22, 29 (5th Cir. 2010) (citing Lane v. Pena, 518 U.S. 187, 192 (1996)).
115
    Rich v. United States, 811 F.3d 140, 147 (4th Cir. 2015) (citing Coulthurst v. United States, 214 F.3d 106 (2d Cir.
2000)).
116
    Id.
117
    Coulthurst, 214 F.3d at 111.


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          duties with due care as an “abuse of discretion.” Reading the statute in this
          fashion, however, would lead to absurd results. For example, the driver of a mail
          truck undoubtedly exercises discretion in the manner of driving and makes
          innumerable judgment calls in the course of making his or her deliveries. In some
          manner of speaking, therefore, one might characterize it as an “abuse of
          discretion” for that driver to fail to step on the brake when a pedestrian steps in
          front of the car, to fail to signal before turning, or to drive 80 mile per hours [sic]
          in a 35 mile per hour zone. Such a characterization, however, would effectively
          shield almost all government negligence from suit, because almost every act
          involves some modicum of discretion regarding the manner in which one carries it
          out. Such a result is not required by the language of [§ 2680] and would undercut
          the policy aims at the heart of the FTCA.118

The Fifth Circuit recognizes this reasoning: “[A]s virtually every act of a government employee

involves at least a modicum of choice, we must exercise restraint when applying the

discretionary function exception. If courts were not to exercise restraint, the government would

be insulated ‘from nearly all tort liability,’ thereby frustrating the very purposes that motivated

enactment of the FTCA—a classic example of the exception swallowing the rule.”119 With these

legal standards in mind, the Court considers the parties’ arguments.

             The Discretionary Function Exception as Applied to Family Separation

          The United States first argues regarding Plaintiffs’ claim for intentional infliction of

emotional distress based upon family separation,120 that the decision to prosecute rests in the

absolute discretion of the United States Attorney General, and once the discretionary decision to




118
    McKinney v. United States, 950 F. Supp. 2d 923, 929 (N.D. Tex. 2013) (alterations in original) (quoting
Coulthurst, 214 F.3d at 110), aff’d, McKinney v. United States, 584 F. App'x 229 (5th Cir. 2014); see Sigman v.
United States, 217 F.3d 785, 796 (9th Cir. 2000) (quoting K. DAVIS, ADMINISTRATIVE LAW TREATISE § 25.08
(Supp. 1982) (“The driver of a mail truck makes many discretionary decisions but they are not within the exception
because they involve driving discretion, not governmental discretion. The physician at the veterans' hospital
exercises professional discretion in deciding whether or not to operate; ... he combines professional discretion with
governmental discretion when he decides that budgetary restrictions require nonuse of an especially expensive
treatment in absence of specified conditions.”).
119
    Johnson v. Sawyer, 980 F.2d 1490, 1502 (5th Cir. 1992) (quoting Collins v. United States, 783 F.2d 1225, 1233
(5th Cir. 1986)), vacated on other grounds, 47 F.3d 716 (5th Cir. 1995).
120
    See Dkt. No. 144-1 at 8, ¶¶ 36–37, & 32, ¶ 151 (“CBP agents, including Defendants Jorge Flores and Christopher
Garza knowingly, intentionally, and/or recklessly caused Mr. Muñoz and Plaintiff severe emotional distress by
separating Mr. Muñoz from Plaintiff and D.M.A.”).


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prosecute is made, the separation of prisoners from their families is plainly legal.121 Plaintiffs

respond that the zero tolerance and family separation policies were mandatory, not

discretionary.122 The United States replies that the separation policy itself and its implementation

by officers in the field are discretionary, and even if the Attorney General’s policy is mandatory,

faithful implementation by agents in the field is protected by the discretionary function

exception.123

          The Court agrees with the United States. The Attorney General’s memorandum provided

in pertinent part, “I direct each United States Attorney's Office along the Southwest Border—to

the extent practicable, and in consultation with DHS—to adopt immediately a zero-tolerance

policy for all offenses referred for prosecution under section 1325(a). This zero-tolerance policy

shall supersede any existing policies.”124 The decision regarding whether to prosecute and

ranking prosecution priorities are clearly protected discretionary decisions.125 Furthermore, the

memorandum “provides guidance to those prosecutors on how to exercise their prosecutorial

discretion with respect to illegal entry enforcement consistent with DOJ priorities,”126 and the

phrase “to the extent practicable” also turns on essentially discretionary judgment. 127 Therefore,



121
    Dkt. No. 99 at 27–28.
122
    Dkt. No. 116 at 20, ¶¶ 39–40.
123
    Dkt. No. 121 at 7–8, ¶¶ 14–17.
124
    Memorandum for Federal Prosecutors Along the Southwest Border (Apr. 6, 2018),
https://www.justice.gov/opa/press-release/file/1049751/download.
125
    See Greenlaw v. United States, 554 U.S. 237, 246 (2008) (quoting United States v. Nixon, 418 U.S. 683, 693
(1974)) (The Supreme Court “has recognized that ‘the Executive Branch has exclusive authority and absolute
discretion to decide whether to prosecute a case’”); Smith v. United States, 375 F.2d 243, 247 (5th Cir. 1967) (“The
discretion of the Attorney General in choosing whether to prosecute or not to prosecute, or to abandon a prosecution
already started, is absolute.”).
126
    Sw. Envtl. Ctr. v. Sessions, 355 F. Supp. 3d 1121, 1126 (D.N.M. 2018) (emphasis added).
127
    See Aragon v. United States 146 F.3d 819, 824 (10th Cir. 1998) (“‘[A]s may be practicable’ is a prime example
of discretionary language, which gave federal agencies a choice or judgment on what action to take, if any.”)
(alteration in original); Rosebush v. United States, 119 F.3d 438, 442 (6th Cir. 1997) (“Decisions concerning what
constitutes ‘practicable’ require the exercise of discretion which is protected by FTCA § 2680(a).”); Cope v. Scott,
45 F.3d 445, 450 (D.C. Cir. 1995) (holding that the phrase “to the extent practicable . . . means that the standards are
applicable only when no competing priorities exist. Such flexibility is the essence of discretion.”); Cangemi v.
United States, 2016 WL 915173, at *6 (E.D.N.Y. Mar. 7, 2016) (“Courts in this Circuit and elsewhere have


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prosecutorial judgment is a matter of choice, and obviously grounded in considerations of public

policy—such as the United States Attorney General’s priorities and United States Attorneys’

discretion—that is intended to be shielded by the discretionary function exception. Plaintiffs do

not dispute the conclusion that the Attorney General’s memorandum is an “administrative

decisio[n] grounded in social, economic, and political policy”128 that this Court is without

jurisdiction to second-guess.129 Accordingly, to the extent Plaintiffs bring claims against the

United States for its “Zero Tolerance policy,”130 such claims are foreclosed by the discretionary

function exception.131

            The Discretionary Function Exception as Applied to Medical Treatment

          Plaintiffs also assert a negligence and gross negligence claim under the Federal Tort

Claims Act. In the proposed Third Amended Complaint, Plaintiffs allege that:

          Defendants United States of America, and CBP agents, including Defendants
          Jorge Flores and Christopher Garza, owed a legal duty of care to Mr. Muñoz as a
          detainee in their custody. CBP officers, including Defendants Jorge Flores and
          Christopher Garza, breached the duty they owed to Mr. Muñoz when they failed
          to provide him with appropriate medical care, including, but not limited to, in the
          form of psychiatric treatment after CBP officers caused his disturbed mental state
          by separating him from his wife and son.132

Defendant United States moves to dismiss this claim under the discretionary function exception,

because all decisions regarding transferring detainees and designating their medical

classifications are discretionary acts.133 Plaintiffs respond that Defendant had a nondiscretionary

duty to provide medical care for inmates in federal custody under the Constitution, statute,

federal regulation, and CBP policy, and that Defendant breached its duty to provide medical care

determined that the phrase ‘to the extent practicable’ or its derivatives do not constitute a prescribed course of
action.”).
128
    United States v. Gaubert, 499 U.S. 315, 323 (1991).
129
    See Dkt. No. 116 at 19, ¶ 38.
130
    Dkt. No. 116 at 20, ¶ 39; see also Dkt. No. 144-1 at 18–29, ¶¶ 148–180.
131
    28 U.S.C. § 2680.
132
    Dkt. No. 144-1 at 27, ¶¶ 164–65; see also id. at 29, ¶ 176.
133
    Dkt. No. 99 at 29.


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by failing to treat Mr. Muñoz when he was in CBP custody and by turning Mr. Muñoz over to

the Starr County Jail without adequate safeguards.134 The United States replies that none of

Plaintiffs’ references call for nondiscretionary conduct, thus all of the Government’s decision-

making with respect to Mr. Muñoz is protected by the discretionary function exception.135

          The parties dispute what provision of medical care to Mr. Muñoz was required and

nondiscretionary under various federal rules. The Court will assess each rule to determine, under

the first prong of the discretionary function exception outlined above, 136 whether the cited rule

was a matter of choice for the acting employee with respect to Mr. Muñoz’s medical care.

                                      The United States Constitution

          Plaintiffs first argue that Defendants had a nondiscretionary duty to provide medical care

for detainees in federal custody under the Constitution, which guarantees the protection of the

Fifth Amendment to all people subject to the United States’ jurisdiction and “which prohibits

‘[d]eliberate indifference to serious medical needs.’”137 However, the Federal Tort Claims Act

only waives the United States’ sovereign immunity “under circumstances where the United

States, if a private person, would be liable to the claimant.”138 Private individuals cannot be

liable for constitutional torts, and constitutional tort claims are not actionable under the FTCA.139

Accordingly, to the extent Plaintiffs attempt to bring a constitutional tort claim against the

United States under the Federal Tort Claims Act, or assert that the Constitution itself furnishes a

nondiscretionary standard of medical care that is actionable under the FTCA in the event such

care is not provided, such claim is entirely jurisdictionally barred.


134
    Dkt. No. 116 at 21–22, ¶¶ 42–45.
135
    Dkt. No. 121 at 9–11, ¶¶ 19–26.
136
    See supra notes 107–108 and accompanying text.
137
    Dkt. No. 116 at 21, ¶ 42 (quoting Estelle v. Gamble, 429 U.S. 97, 104 (1976)).
138
    28 U.S.C. § 1346(b)(1).
139
    FDIC v. Meyer, 510 U.S. 471, 478 (1994) (“[T]he United States simply has not rendered itself liable
under § 1346(b) for constitutional tort claims.”).


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                                               Federal Statute

          Plaintiffs next argue that the nondiscretionary duty to provide medical care is “codified in

federal statute, 42 U.S.C. § 249(a).”140 That statute subsection provides in full: “Any person

when detained in accordance with quarantine laws, or, at the request of the Immigration and

Naturalization Service, any person detained by that Service, may be treated and cared for by the

Public Health Service.”141 Nothing in this statute provides for a nondiscretionary standard or

provision of healthcare, and like the “to the extent practicable” language analyzed above, “[t]he

word ‘may’ clearly connotes discretion.”142 When a policy or rule “fails to prescribe ‘specific

direction’ as to what course of action an employee must follow, it generally fails to establish a

nondiscretionary duty.”143 Therefore, the Court finds that the provision of medical care under 42

U.S.C. § 249(a) was a discretionary “matter of choice for the acting employee.”144

                                             Federal Regulation

          Plaintiffs next cite to a federal regulation, 42 C.F.R. § 34.7, to establish the

nondiscretionary duty to provide medical care to detainees.145 The Department of Health and

Human Services regulation provides in relevant part:

          (a) An alien detained by or in the custody of DHS [Department of Homeland
          Security] may be provided medical, surgical, psychiatric, or dental care by HHS
          [Health and Human Services] through interagency agreements under which DHS
          shall reimburse HHS. Aliens found to be in need of emergency care in the course
          of medical examination shall be treated to the extent deemed practical by the
          attending physician and if considered to be in need of further care, may be
          referred to DHS along with the physician's recommendations concerning such
          further care.




140
    Dkt. No. 116 at 21, ¶ 42.
141
    42 U.S.C. § 249(a).
142
    Fogerty v. Fantasy, Inc., 510 U.S. 517, 533 (1994).
143
    Lopez v. U.S. Immigration & Customs Enf't, 455 F. App'x 427, 433 (5th Cir. 2011).
144
    Tsolmon v. United States, 841 F.3d 378, 382 (5th Cir. 2016) (quotation omitted).
145
    Dkt. No. 116 at 21, ¶ 42.


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The language Plaintiffs point to, “Aliens found to be in need of emergency care in the course of

medical examination shall be treated to the extent deemed practical by the attending physician,”

contains at least two matters of judgment for the acting employee: “Aliens found to be in need”

and “to the extent deemed practical,” which are discretionary for the reasons elaborated above.

                        United States Customs and Border Protection Policy

          Plaintiffs next cite to a CBP policy document to establish a nondiscretionary duty to

provide medical care.146 Plaintiffs cite to one CBP policy standard which states “Medical Issues:

Officers/Agents must be alert to medical symptoms such as coughing, fever, diarrhea, rashes or

emaciation, in addition to obvious wounds, injuries, cuts, bruising or bleeding, heat related injury

or illness, and dehydration. Any observed or reported injury or illness must be reported, and

appropriate medical care must be provided or sought in a timely manner.”147 Plaintiffs also cite

another CBP policy which states, “Detainee Distress: In addition to verbal communication,

officers/agents must be alert to non-verbal cues exhibited by detainees that might indicate that

the detainee is in mental or physical distress. This might include expressions of suicidal thoughts,

hallucinations, or other signs of disorientation.”148 Nothing in these policies calls for

nondiscretionary conduct. “Despite the policy statement's mandate that certain information

‘shall’ be [reported, and appropriate medical care must be provided or sought], the directive




146
    Dkt. No. 116 at 21, ¶ 42 (citing U.S. Customs and Border Protection, National Standards on Transport, Escort,
Detention, and Search (Oct. 2015),
http://web.archive.org/web/20200224000858/https://www.cbp.gov/sites/default/files/assets/documents/2017-
Sep/CBP%20TEDS%20Policy%20Oct2015.pdf.
147
    Id. (quoting U.S. Customs and Border Protection, National Standards on Transport, Escort, Detention, and
Search, § 2.5 at 5–6 (Oct. 2015),
http://web.archive.org/web/20200224000858/https://www.cbp.gov/sites/default/files/assets/documents/2017-
Sep/CBP%20TEDS%20Policy%20Oct2015.pdf.
148
    Dkt. No. 144-1 at 12, ¶ 72 (referring to U.S. Customs and Border Protection, National Standards on Transport,
Escort, Detention, and Search, § 2.5 at 6 (Oct. 2015),
http://web.archive.org/web/20200224000858/https://www.cbp.gov/sites/default/files/assets/documents/2017-
Sep/CBP%20TEDS%20Policy%20Oct2015.pdf.


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includes an ‘element’ of discretion.”149 Plaintiffs’ argument with respect to the CBP policy

simply recapitulates the argument, already rejected by the Fifth Circuit, that certain policy

language that agents “must” or “will” perform certain activities establishes a nondiscretionary

duty on the part of agents.150 The Fifth Circuit held that “many policy statements couched in

seemingly mandatory language ultimately present only ‘generalized, precatory, or aspirational

language that is too general to prescribe a specific course of action for an agency or employee to

follow.’ Thus, in Freeman, Department of Homeland Security policies stating where medical

support ‘is required’ following a disaster articulated only aspirational goals.”151 In the case just

quoted, the Fifth Circuit went on to hold that the United States Marshals Service policies at issue

did not impose specific nondiscretionary duties and the marshals’ conduct was shielded by the

discretionary function exception.152

          Similarly here, the language “appropriate medical care” is generalized. The policy

language fails to “define a non-discretionary course of action specific enough to render the

discretionary function exception inapplicable.”153 What constitutes “appropriate medical care”

necessarily relies on the discretion and policy judgments of the acting employees. 154 The Court

finds that the CBP policy language involved conduct that is “a matter of choice for the acting

employee.”155




149
    Patel v. United States, 398 F. App'x 22, 29 (5th Cir. 2010).
150
    Dkt. No. 116 at 21–22, ¶¶ 42–45.
151
    Lopez v. U.S. Immigration & Customs Enf't, 455 F. App'x 427, 433 (5th Cir. 2011) (quoting Freeman v. United
States, 556 F.3d 326, 338 (5th Cir. 2009)).
152
    Id. at 433–34.
153
    Garza v. United States, 161 F. App'x 341, 343 (5th Cir. 2005).
154
    See supra nn.161–173 and accompanying text.
155
    Tsolmon v. United States, 841 F.3d 378, 382 (5th Cir. 2016) (quotation omitted).


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          Whether the Discretionary Function Exception Shields the Judgments at Issue

          Having found that all conduct in question in a discretionary matter of choice, the question

remains under the second prong of the discretionary function exception whether Plaintiffs have

established that “the judgment[s are not] of the kind that the discretionary function exception was

designed to shield.”156 The Court holds that Plaintiffs have failed to carry their burden. Plaintiffs

offer only a single paragraph addressing the conduct and judgments at issue, arguing that

negligent or absent-minded conduct is not protected by the discretionary function exception.157

While true, Plaintiffs fail to address158 and therefore fail to carry their burden to establish that the

medical care rendered (or failed to be rendered) to Mr. Muñoz is not an exercise of the kind of

governmental or policy discretion that is shielded by the exception, or is a type of unprotected

discretion (such as a purely medical determination) that does not involve competing policy

considerations.159

          In this case, the CBP agents that took Mr. Muñoz into custody needed to balance his

requests for medical aid160 against the medical severity, the resources available including

security, the requests of other detainees, and the governmental policy and expertise in dealing

with individuals in Mr. Muñoz’s specific situation. Again, “the applicability of the discretionary

function exception does not turn on evidence of the actual decisions made by the defendants, but,




156
    Id. (quotation omitted).
157
    See Dkt. No. 116 at 19, ¶ 38.
158
    See id. at 20–22, ¶¶ 41–45.
159
    See Sigman v. United States, 217 F.3d 785, 796 (9th Cir. 2000) (quotation omitted) (holding that United States
Air Force physicians’ failure to properly diagnose the plaintiff in the course of treatment did “not concern actions
which are the product of judgment driven by the consideration of competing policy-based choices” and did “not
relate to any special functions reserved to governmental policy and expertise and exempted from the FTCA's waiver
of immunity.”)
160
    See Dkt. No. 144-1 at 9, ¶ 43 (“Shortly after the family crossed the border near Granjeno, Texas they encountered
CBP agents, including Defendant Abram Lerma. Upon being detained, Plaintiff and Mr. Muñoz requested medical
aid for Mr. Muñoz.”).


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rather, on whether the decision is or is not susceptible to policy analysis.”161 The CBP agents

“had to make a policy decision as to what to do with [Mr. Muñoz].”162 The agents’ options

included (1) treating him immediately, (2) delaying treatment until conditions were more

favorable at Mr. Muñoz’s first facility, or (3) transferring Mr. Muñoz to a different facility. The

CBP agents initially chose to segregate and restrain Mr. Muñoz in his first facility, and

ultimately pursued the third option.163 These were judgments susceptible to policy analysis:

          [T]he Border Patrol Agents’ decision to [delay treatment and transfer Mr. Muñoz
          to a different facility] was the product of a judgment or choice, and the Border
          Patrol Agents' conduct in the situation was not mandated by any statute,
          regulation or policy .... [T]he Border Patrol Agents' decision was unequivocally
          subject to policy analysis, as it involved the use of government resources and
          necessarily involved a decision as to what the Border Patrol should do with a
          [detainee] in the unique circumstances presented by such a case.164

This Court has rejected the argument that “good quality medical care” for detainees is a

mandatory responsibility of the government in the context of the discretionary function

exception, because the extension of Plaintiffs’ logic would make “any act regarding medical care

a prescribed operational one, falling outside the scope of the FTCA discretionary exemption.”165

Furthermore, the Court’s finding that Plaintiffs have failed to satisfy their burden is consistent

with the Fifth Circuit’s admonishments that the Court must generally defer to the expertise of

prison officials and is not to substitute its judgment for the considerations of such officials.166

“[T]he duty to maintain safekeeping of inmates is a discretionary one.”167




161
    Andrade v. Chojnacki, 338 F.3d 448, 457 (5th Cir. 2003) (quotation omitted).
162
    Castro v. United States, No. CIV.A. C-06-61, 2007 WL 471095, at *8 (S.D. Tex. Feb. 9, 2007) (Jack,
J.), aff'd, 608 F.3d 266 (5th Cir. 2010) (en banc).
163
    Dkt. No. 144-1 at 11, ¶ 63 & 13, ¶ 77.
164
    Castro v. United States, 608 F.3d 266, 268 (5th Cir. 2010) (en banc) (capitalization alterations in original)
(quotation omitted).
165
    Ahern, 2017 WL 2821949, at *2.
166
    Buchanan v. United States, 915 F.2d 969, 972 (5th Cir. 1990).
167
    Huff v. Neal, 555 F. App'x 289, 298 (5th Cir. 2014).


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          As for the decision to transfer Mr. Muñoz to a different facility—the Starr County

Jail168—this Court has conclusively held that the decision to hire a contractor, the choice of

contractor, and the degree of oversight over a contractor are all policy-based considerations that

are shielded by the discretionary function exception.169 As this Court pointed out, “a decision as

to the best allocation or use of resources is ‘inherently bound up in considerations of economic

and political policy, and accordingly is precisely the type of governmental decision that Congress

intended to insulate from judicial second-guessing.’”170 “[I]f a government employee’s decision

truly involves a decision on how to allocate resources, then the decision is the kind of decision

that satisfies prong two of the discretionary function analysis.”171 Ultimately, the Court finds that

Plaintiffs have failed to carry their burden to demonstrate that the judgments at issue were not

“of the kind that the discretionary function exception was designed to shield”172 because the CBP

agents’ complained-of judgments are “susceptible to policy analysis” that immunizes them from

judicial review.173

          The Court holds that Plaintiffs have failed to carry their burden to establish that the

discretionary function exception does not apply to Plaintiffs’ Federal Tort Claims Act claims, the

first, second, and third causes of action in the proposed Third Amended Complaint.174 Therefore,

the Court holds that it lacks jurisdiction under the Federal Tort Claims Act to entertain Plaintiffs’

claims, GRANTS the United States’ motion to dismiss,175 and DENIES Plaintiffs’ motion to



168
    Dkt. No. 144-1 at 13, ¶ 76.
169
    Ahern v. United States, No. 2:14-CV-259, 2017 WL 2821949, at *2 (S.D. Tex. June 29, 2017) (Ramos, J.) (citing
Lopez v. U.S. Immigration & Customs Enf't, 455 F. App'x 427, 432 (5th Cir. 2011) & Guile v. United States, 422
F.3d 221, 231 (5th Cir. 2005)).
170
    Castro, 2007 WL 471095, at *8 (quoting Baum v. United States, 986 F.2d 716, 724 (4th Cir. 1993)).
171
    Cuevas v. Westerman, No. 1:14-CV-133, 2016 WL 11529760, at *7 n.2 (S.D. Tex. Nov. 10, 2016) (Hanen, J.).
172
    Tsolmon v. United States, 841 F.3d 378, 382 (5th Cir. 2016).
173
    Castro, 2007 WL 471095, at *8 (quoting Lakomy v. United States, 70 F. App'x 199, 205 (5th Cir. 2003)).
174
    See Dkt. No. 144-1 at 25–29, ¶¶ 148–180.
175
    Dkt. No. 99.


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amend176 to the extent Plaintiffs would attempt to allege any claims against the United States or

United States Customs and Border Protection agents under the Federal Tort Claims Act.

Plaintiffs’ claims under the Federal Tort Claims Act are DISMISSED WITH PREJUDICE.

The Court has no occasion to reach, and makes no determination upon, the United States’ other

arguments in favor of dismissal.

                 ii. Bivens Claim Against All Named and Unknown Customs and Border
                     Protection Agents in their Individual Capacities

          Plaintiffs’ fourth cause of action in their proposed Third Amended Complaint is a

Bivens177 claim against Defendant CBP agents Alvaro A. Guajardo-Martinez, Christopher R.

Garza, Jorge Flores, Abram Lerma, and “Unknown United States Customs and Border Protection

Agents.”178 Plaintiffs allege that the CBP agents’ failure to provide medical care violated Mr.

Muñoz’s constitutional rights.179 The CBP agents oppose leave to amend for the reasons outlined

in their motion to dismiss, chiefly that there is no Bivens remedy available to Plaintiffs in this

context.180

          In their motion to dismiss, the CBP agents argue that the Court should not extend Bivens

to provide a remedy in this context, and that the CBP agents are entitled to qualified immunity

even if the Court does extend Bivens.181 Plaintiffs respond that Bivens already offers a remedy

for failure to provide medical care; that even if this context is new, Bivens should provide a

remedy; and that qualified immunity does not shield CBP Defendants from liability. 182 The CBP




176
    Dkt. No. 144.
177
    See Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971).
178
    Dkt. No. 144-1 at 5, ¶¶ 17–21.
179
    Id. at 29–30, ¶¶ 183–189.
180
    Dkt. No. 145 at 4–5, ¶¶ 5–6.
181
    Dkt. No. 124 at 2–3.
182
    Dkt. No. 133 at 2.


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agents reply with disagreement to all of Plaintiffs’ arguments.183 The Court turns to the

arguments, which requires a brief explanation of the history of the Bivens doctrine.

          In 1871, Congress authorized suits by injured people against state officials for violations

of a person’s federal constitutional rights, but Congress has never specifically authorized suits

against federal officials for violations of personal constitutional rights. 184 Against that backdrop,

the Supreme Court decided Bivens in 1971 which implied “a damages remedy to compensate

persons injured by federal officers who violated the prohibition against unreasonable search and

seizures.”185 Between 1971 and 1980, the Supreme Court also authorized a gender discrimination

remedy under the Fifth Amendment in Davis v. Passman and a failure to provide adequate

medical treatment remedy under the Eighth Amendment in Carlson v. Green.186 Since 1980,

however, the Supreme Court has retreated from the “ancien regime” of implying causes of action

and held that, if Congress intends litigants to have private causes of action for violation of their

rights, the “‘far better course’ is for Congress to confer that remedy in explicit terms.”187 Since

1980, the Supreme Court has rejected arguments for extending Bivens and implying damages

remedies without specific statutory authorization into new contexts, noting that extending Bivens

is a “disfavored judicial activity.”188 The Supreme Court has counseled significant hesitation and

caution before lower courts recognize a new cause of action under Bivens, but has nevertheless

not eliminated the possibility of extension completely.189 However, the Fifth Circuit has

expressed deep skepticism of extending Bivens and acknowledged that even claims under the

same clause of the same constitutional amendment “in the same way” will not be recognized


183
    See Dkt. No. 136 at 2.
184
    Ziglar v. Abbasi, 137 S. Ct. 1843, 1854 (2017).
185
    Id.
186
    Id. at 1854–55.
187
    Id. at 1855 (quoting Cannon v. Univ. of Chi., 441 U.S. 677, 717 (1979)).
188
    Id. at 1857 (quotation omitted).
189
    Id. at 1857–58.


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under the Bivens doctrine.190 For example, the Supreme Court rejected virtually identical Bivens

claims under the Fifth Amendment “because the plaintiff was a military servicemember rather

than a congressional employee” and under the Eighth Amendment because the action was

against private prison officials rather than federal prison officials. 191 At least two Justices of the

Supreme Court are of the opinion that the Bivens doctrine should be discarded completely.192

And at least eight times since 1980, the Supreme Court has rejected Bivens extensions.193 This

Court acknowledges that the Bivens doctrine is moribund.

          “[T]here is [now] a two part inquiry for determining whether to allow a Bivens cause of

action: (1) whether the instant case involves a new context that is distinct from prior Bivens cases

and (2) whether any special factors preclude extending Bivens to this new context.”194 Under the

first prong, “[i]f the case is different in a meaningful way from previous Bivens cases decided by

th[e Supreme] Court, then the context is new.”195 “Even a modest extension is still an

extension,”196 so a case is meaningfully different “if it implicates a different constitutional right”

than the Supreme Court’s three Bivens doctrine cases,197 and might be meaningfully different

merely “because of the rank of the officers involved,” among other factors.198 Under the second

prong, the central analysis concerns “separation-of-powers principles”199 and the Court considers

“whether there are sound reasons to think Congress might doubt the efficacy or necessity of a

damages remedy, and whether the Judiciary is well suited, absent congressional action or



190
    Cantú v. Moody, 933 F.3d 414, 422 (5th Cir. 2019) (emphasis in original).
191
    Id. (citing Chappell v. Wallace, 462 U.S. 296 (1983) & Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001)).
192
    Hernandez v. Mesa, 140 S. Ct. 735, 750 (2020) (Thomas, J., concurring).
193
    Ziglar, 137 S. Ct. at 1857 (collecting cases).
194
    Maria S. v. Garza, 912 F.3d 778, 784 (5th Cir.) (quotations omitted), cert. denied, 140 S. Ct. 81 (2019).
195
    Ziglar, 137 S. Ct. at 1860.
196
    Id. at 1864.
197
    Id.
198
    Id. at 1860.
199
    Hernandez v. Mesa, 140 S. Ct. 735, 743 (2020) (quoting Ziglar, 137 S. Ct. at 1857).


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instruction, to consider and weigh the costs and benefits of allowing a damages action to

proceed.”200




200
      Id. (internal quotation marks and citations omitted).


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                 Whether Plaintiffs’ Allegations Involve a New Bivens Context

          Plaintiffs’ Bivens claim in the proposed Third Amended Complaint alleges that CBP

agents violated Mr. Muñoz’s Fifth Amendment due process rights.201 The Fifth Amendment

provides that “No person shall be . . . deprived of life, liberty, or property, without due process of

law.”202 Plaintiffs’ cause of action under the Fifth Amendment is in accord with Fifth Circuit

precedent, which considers “a person detained for deportation to be the equivalent of a pretrial

detainee; a pretrial detainee's constitutional claims are considered under the due process clause

[of the Fifth Amendment] instead of the Eighth Amendment.”203 Plaintiffs first assert that their

claim in this context is not distinct from prior Bivens cases, and Plaintiffs cite four District Court

cases from across the United States, one pre-Ziglar Fourth Circuit case, and one post-Ziglar

Third Circuit case in support.204 CBP agents disagree and assert that Plaintiffs are raising a claim

in a new context under the first prong of the test.205

          The Court agrees with the CBP agent Defendants. The Court first notes that five of

Plaintiffs’ cited cases are inapposite. Martinez v. D'Agata held that “there is a meaningful

difference between Bivens and plaintiff’s allegations;”206 Self v. Warden, MCC,207 and Williams

v. U.S. Department of Justice,208 held, as a merely marginal and preliminary determination in a

footnote under the Court’s obligations to screen prisoner complaints,209 that the plaintiffs’ claim

for inmate mistreatment did not differ meaningfully from the Carlson holding implying a Bivens




201
    Dkt. No. 144-1 at 29–30, ¶ 183.
202
    U.S. CONST. amend. V.
203
    Edwards v. Johnson, 209 F.3d 772, 778 (5th Cir. 2000).
204
    Dkt. No. 133 at 10–11, ¶¶ 18–19.
205
    Dkt. No. 124 at 16–17, ¶ 14; Dkt. No. 140 at 7–8, ¶¶ 5–6.
206
    No. 16 CV 44 (VB), 2019 WL 6895436, at *7 (S.D.N.Y. Dec. 18, 2019) (emphasis added).
207
    No. 318CV01451LABMDD, 2018 WL 4502370, at *4 n.4 (S.D. Cal. Sept. 19, 2018).
208
    No. CV 19-00081 JMS-KJM, 2019 WL 1768610, at *2 n.8 (D. Haw. Apr. 22, 2019).
209
    See 28 U.S.C. § 1915A.


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remedy for prisoner mistreatment; Loe v. Armistead210 was decided during the 1972–1980 period

when the Supreme Court was implying causes of action directly under the Constitution and is

irrelevant to the Ziglar v. Abbasi analysis; and Bistrian v. Levi211 only concludes that the

Supreme Court already recognized a Bivens remedy in a “failure to protect” claim for prisoner-

on-prisoner violence in Farmer v. Brennan212 that the Third Circuit extended to claims by

pretrial detainees, but the case says nothing about failure to provide medical care claims.213

Plaintiffs’ only remaining case is Laurent v. Borecky,214 an Eastern District of New York case

that is not binding on this Court.215 Laurent dealt with a prisoner’s Bivens claims for deliberate

indifference in providing medical care while incarcerated. The Court admitted that the prisoner’s

Fifth Amendment claim differed from the Eighth Amendment claim approved in Carlson v.

Green,216 but held that the prisoner’s claim against prison officials for failure to treat “bears an

extremely strong resemblance to [one of] the three Bivens claims the [Supreme] Court has

approved in the past.”217 The Eastern District of New York found that, “[i]n light of the

significant distinctions between Ziglar and the instant case, the Court does not find that

Plaintiff’s claim alleges a ‘new Bivens context.’”218

          This Court finds the Eastern District of New York case unpersuasive under the first prong

of Ziglar, because it ignored the Supreme Court’s “proper test for determining whether a case

presents a new Bivens context,” which includes analyzing the potential differences from previous

210
    582 F.2d 1291, 1294 (4th Cir. 1978).
211
    912 F.3d 79, 90–92 (3d Cir. 2018).
212
    511 U.S. 825 (1994).
213
    Bistrian, 912 F.3d at 91 (“Farmer continues to be the case that most directly deals with whether a Bivens remedy
is available for a failure-to-protect claim resulting in physical injury.”).
214
    No. 17-CV-3300 (PKC)(LB), 2018 WL 2973386 (E.D.N.Y. June 12, 2018).
215
    Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011) (quotation omitted) (“A decision of a federal district court
judge is not binding precedent in either a different judicial district, the same judicial district, or even upon the same
judge in a different case.”).
216
    446 U.S. 14 (1980).
217
    Laurent, 2018 WL 2973386, at *5 (alterations in original) (quotation omitted).
218
    Id.


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Bivens cases (such as the constitutional right at issue and the judicial guidance on the problem

confronted),219 and because the court failed to couch its holding, reached in two brief paragraphs,

in any Court of Appeals precedent regarding Bivens. The case also has no appellate history. As

elaborated above, the Fifth Circuit is skeptical of even identical constitutional claims, much less

claims asserting different constitutional rights. The Fifth Circuit also “has cautioned that

markedly similar claims brought under different amendments should not automatically be

considered analogous.”220

          Accordingly, the Court concurs with the CBP Defendants that “there is no avoiding the

novelty of Plaintiffs’ Bivens theories.”221 Ziglar effectively rejects Plaintiffs’ position. Although

Plaintiffs seem to be arguing for a modest extension of Carlson’s holding implying a remedy for

prisoner mistreatment under the Eighth Amendment to pretrial detainees, in Ziglar, the Supreme

Court acknowledged that Carlson:

          did allow a Bivens claim for prisoner mistreatment—specifically, for failure to
          provide medical care. And the allegations of injury here [harsh prison conditions
          and physical abuse by prison guards] are just as compelling as those at issue
          in Carlson. . . . Yet even a modest extension is still an extension. And this case
          does seek to extend Carlson to a new context. . . . The constitutional right is
          different here, since Carlson was predicated on the Eighth Amendment and this
          claim is predicated on the Fifth.222

Here, Plaintiffs allege that the CBP Defendants, “by separating [a suspected illegal alien] from

his family and . . . failing to provide him with medical attention” violated Mr. Muñoz’s Fifth

Amendment right.223 Because Plaintiffs’ claim is predicated on a different constitutional

amendment, against a different type of defendant, by a different type of detainee, than that at

issue in Carlson, even if Plaintiffs call for only a modest extension, the context is nevertheless

219
    Ziglar v. Abbasi, 137 S. Ct. 1843, 1859 (2017).
220
    Rroku v. Cole, 726 F. App'x 201, 206 (5th Cir. 2018).
221
    Dkt. No. 136 at 7 (capitalizations omitted).
222
    Ziglar, 137 S. Ct. at 1864.
223
    Dkt. No. 144-1 at 29–30, ¶ 183.


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new.224 In short, the Court finds that Plaintiffs’ case claiming Fifth Amendment violations in the

immigration detention context differs meaningfully from previous Bivens cases and the new

context necessitates that the Court examine whether special factors counsel against extending

Bivens to this new context.

             Whether Special Factors Preclude Extension of Bivens into this Context

          Defendant CBP agents argue that various special factors should lead this Court to decline

to extend a Bivens remedy into this new context.225 Plaintiffs disagree.226 Plaintiffs first argue

that the failure of Congress to explicitly legislate a damages remedy in this context does not

counsel against extending a damages remedy, because the Supreme Court has counseled that

congressional silence is not a signpost for congressional intent.227 However, the case Plaintiffs

cite concerned only statutory interpretation and the idea that congressional silence does not

indicate adoption of a controlling rule or interpretation of law.228 In contrast, Ziglar explicitly

held “in any inquiry respecting the likely or probable intent of Congress, the silence of Congress

is relevant” when considering whether to extend a Bivens claim, particularly where Congress has

given “frequent and intense” attention to the statutory regime at issue.229 There is no question

that Congress has given thorough and intense consideration to the statutory regime concerning

immigration detention. As the CBP Defendants thoroughly establish in their brief, Congress has

passed legislation concerning immigration prosecution and detainee treatment, responded to

highly publicized complaints of “family separation” with legislation, and exercised oversight and



224
    Furthermore, the Supreme Court has already declined to extend Bivens to “a private corporation operating a
halfway house under contract with the Bureau of Prisons,” which the Court likens to the CBP’s relationship to the
Starr County Jail in this case. Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 63 (2001).
225
    Dkt. No. 124 at 21–29, ¶¶ 21–30.
226
    Dkt. No. 133 at 16–18, ¶¶ 33–38.
227
    Id. at 16–17, ¶ 34 (quoting United States v. Wells, 519 U.S. 482, 495–96 (1997)).
228
    See Wells, 519 U.S. at 496.
229
    Ziglar v. Abbasi, 137 S. Ct. 1843, 1862 (2017).


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held hearings on family separations near the United States’ international border with Mexico.230

Congressional attention to the matter has been thorough and sustained. Plaintiffs’ argument is

foreclosed. As the Fifth Circuit “held in De La Paz v. Coy, ‘[d]espite its repeated and careful

attention to immigration matters, Congress has declined to authorize damage remedies against

individual agents involved in civil immigration enforcement. The institutional silence speaks

volumes and counsels strongly against judicial usurpation of the legislative function.’”231

          Plaintiffs next argue that their claims do not raise “separation-of-powers concerns” that

would counsel against extending Bivens.232 Their argument contrasts starkly with the allegation

in the proposed Third Amended Complaint that “CBP agents were furthering the intent of the

government’s Zero Tolerance policies when they separated Mr. Muñoz from his family, acting

with particular cruelty, emboldened by the intent behind that policy.”233 In short, Plaintiffs’

argument is disingenuous as Plaintiffs clearly complain of the impact of governmental policy as

promulgated by the Executive Branch and seek relief from that policy in this Court.234 Moreover,

Plaintiffs’ position that judicial review of immigration policy or enforcement does not implicate

separation of powers concerns has been thoroughly rejected by the applicable precedent.235 Here,

Plaintiffs’ allegations “specifically targe[t] the Trump Administration’s immigration enforcement



230
    Dkt. No. 124 at 22, ¶ 22 nn.4–6 and accompanying text.
231
    Maria S. v. Garza, 912 F.3d 778, 784 (5th Cir. 2019) (quoting De La Paz v. Coy, 786 F.3d 367, 377 (5th Cir.
2015)), cert. denied, 140 S. Ct. 81 (2019).
232
    Dkt. No. 133 at 17, ¶ 35.
233
    Dkt. No. 144-1 at 10, ¶ 47.
234
    See Dkt. No. 116 at 20, ¶ 40 (“Thus, in separating Mr. Muñoz from his family, CBP agents were acting in
accordance with a policy that requires such separations; the agents had no discretion to act otherwise.”).
235
    See Hernandez v. Mesa, 140 S. Ct. 735, 746 (2020) (“[T]he conduct of agents positioned at the border has a clear
and strong connection to national security, as the Fifth Circuit understood.”); Cantú v. Moody, 933 F.3d 414, 424
(5th Cir. 2019) (“A final special factor counseling hesitation is the nature of the underlying federal law enforcement
activity” which “implicates the security of our international border.”); Maria S., 912 F.3d at 784 (“[J]udicial
meddling in immigration matters is particularly violative of separation-of-powers principles . . . .”); Tun-Cos v.
Perrotte, 922 F.3d 514, 526 (4th Cir. 2019) (quotation omitted) (“[I]mmigration enforcement . . . has the natural
tendency to affect diplomacy, foreign policy, and the security of the nation, which ... counsel hesitation in
extending Bivens.”), cert. denied, No. 19-661, 2020 WL 1496627 (U.S. Mar. 30, 2020).


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policy with the purpose of altering it.”236 For example, Plaintiffs’ allegation that “[t]he intent of

enacting such policies [Zero Tolerance immigration policies] was to deter future migration by

subjecting individuals detained by CBP agents to harsh treatment likely to cause severe trauma,

in order to make examples of them.”237 “This attack on executive policy represents yet another

‘special factor counselling hesitation.’”238

          In sum, the Court finds that the allegations and claims raised in Plaintiffs’ proposed Third

Amended Complaint implicate governmental policy, national security, and separation-of-powers

concerns that counsel against extending Bivens into this context. “In the face of these

considerations, ‘courts may not create [a cause of action], no matter how desirable that might be

as a policy matter.’”239 “The proper balance in situations like this . . . is one for the Congress to

undertake, not the Judiciary.”240 Accordingly, the Court GRANTS “Individual Federal

Defendants’ Motion to Dismiss,”241 and DENIES Plaintiffs’ motion to amend242 to the extent

Plaintiffs would attempt to allege any claims against CBP or other federal agents under the

Bivens doctrine. Plaintiffs’ claim under the Bivens doctrine is DISMISSED WITH

PREJUDICE. The Court has no occasion to reach, and makes no determination upon, whether

CBP agents are entitled to qualified immunity in these circumstances.243




236
    Tun-Cos, 922 F.3d at 527.
237
    Dkt. No. 144-1 at 8, ¶ 38.
238
    Tun-Cos, 922 F.3d at 528 (quoting Ziglar v. Abbasi, 137 S. Ct. 1843, 1858 (2017)).
239
    Cantú, 933 F.3d at 424 (quoting Alexander v. Sandoval, 532 U.S. 275, 286–87 (2001)).
240
    Ziglar, 137 S. Ct. at 1849.
241
    Dkt. No. 124.
242
    Dkt. No. 144.
243
    See Dkt. No. 124 at 29–40, ¶¶ 31–46.


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                 iii. Claim for Deprivation of Civil Rights under 42 U.S.C. § 1983 Against the
                      County of Starr, Texas; the Starr County Sheriff in his Official Capacity; and
                      All Other Named and Unknown County of Starr Employees in their Individual
                      Capacities

          Defendants bring similar but not identical motions to dismiss Plaintiffs’ claims under 42

U.S.C. § 1983.244 Each motion is brought by the individual state officers or jailers: Alex

Garcia,245 Crecencio Galvan,246 Evelario Garza,247 Clyde Guerra,248 Hector Lopez,249 Sheriff

Rene “Orta” Fuentes,250 Sammy Marroquin,251 and Raul Garcia;252 and Defendant Starr County,

Texas, also brings its own motion to dismiss.253 Each motion on behalf of an individual raises the

defense of qualified immunity, Defendant Sheriff Fuentes additionally argues that Plaintiffs’

allegations fail to establish his supervisory liability,254 and Defendant Starr County argues that

Plaintiffs cannot hold the County liable under municipal or policy liability. 255 Each motion also

asserts that Plaintiffs have failed to state a claim under Federal Rule of Civil Procedure 12(b)(6).

In response to Plaintiffs’ motion to amend, these Defendants raise the same arguments.256 The

Court turns to the arguments and first to qualified immunity, because the Supreme Court has

repeatedly “stressed the importance of resolving immunity questions at the earliest possible stage




244
    Dkt. Nos. 125–131 & 142–143.
245
    Dkt. No. 125.
246
    Dkt. No. 126.
247
    Dkt. No. 127.
248
    Dkt. No. 128.
249
    Dkt. No. 129.
250
    Dkt. No. 130.
251
    Dkt. No. 142.
252
    Dkt. No. 143.
253
    Dkt. No. 131.
254
    Dkt. No. 130 at 3–4.
255
    Dkt. No. 131 at 3–4.
256
    See Dkt. No. 149 at 7–11.


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in litigation.”257 The Court is required to and will “examine each individual defendant's

entitlement to qualified immunity separately.”258

          “The doctrine of qualified immunity protects government officials ‘from liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.’”259 The purpose of qualified immunity

is to balance the “the willingness of public officials to fully discharge their professional duties”

(for example, by obviating the need for law enforcement officers to pause to consider their

potential civil liability before acting), with the “right of injured persons to receive redress for a

violation of their constitutional rights, with the threat of monetary damages operating to deter

public officials from violating citizens' constitutional rights.”260 Generally, the Court must

“decide whether the facts that a plaintiff has alleged or shown make out a violation of a

constitutional right [and] . . . whether the right at issue was clearly established at the time of

defendant's alleged misconduct.”261 However, the Court is to “exercise [its] sound discretion in

deciding which of the two prongs of the qualified immunity analysis should be addressed first in

light of the circumstances in the particular case at hand.”262

          The inquiry under the first prong requires no more than that Plaintiffs state a plausible

claim for relief that rests on more than conclusions, as articulated above.263 Under the second

prong,

          [t]he constitutional right must be sufficiently clear to put a reasonable officer on
          notice that certain conduct violates that right. The Supreme Court has warned

257
    Pearson v. Callahan, 555 U.S. 223, 232 (2009) (quoting Hunter v. Bryant, 502 U.S. 224, 227 (1991) (per
curiam)).
258
    Jacobs v. W. Feliciana Sheriff's Dep't, 228 F.3d 388, 395 (5th Cir. 2000) (citing Stewart v. Murphy, 174 F.3d
530, 537 (5th Cir. 1999)).
259
    Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).
260
    Sanchez v. Swyden, 139 F.3d 464, 468 (5th Cir. 1998).
261
    Pearson, 555 U.S. at 232.
262
    Id. at 236.
263
    Anderson v. Valdez, 845 F.3d 580, 589–90 (5th Cir. 2016); see supra Section II.a.


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          against vague or general assertions of constitutional rights and has required
          a § 1983 plaintiff to state with specificity the constitutional right that has been
          allegedly violated—otherwise, liability could be imposed in every case. The
          federal courts of appeal have taken an especially strict approach to determining
          whether a constitutional right is cognizable, thus resolving any doubts in the law
          against § 1983 plaintiffs.264

So “[t]o identify whether the law was clearly established when the officers acted,” there must be

“controlling authority—or a robust consensus of persuasive authority—that defines the contours

of the right in question with a high degree of particularity.”265 Plaintiff bears the burden to

identify the authority “that does not define the law at a high level of generality,”266 and rather

frames the right that was allegedly violated with sufficient specificity and granularity that it is

beyond debate that such right was allegedly violated.267 “The burden is on the plaintiff to

overcome a defendant's defense of qualified immunity” by showing the violation of clearly

established law.268 Because the defense of qualified immunity is a “demanding standard” that

“protects all but the plainly incompetent or those who knowingly violate the law,” qualified

immunity is the “norm, and courts should deny a defendant immunity only in rare

circumstances.”269

                 Qualified Immunity with Respect to Individual Jailer Defendants

          With these legal standards in mind, the individual state Defendants Alex Garcia,

Crecencio Galvan, Evelario Garza, Clyde Guerra, Hector Lopez, and Sheriff Rene “Orta”

Fuentes state plainly that “[a]s stated before, the Plaintiffs’ Complaint simply does not state

sufficient facts to overcome Defendant’s entitlement to Qualified Immunity.”270 Defendants

Sammy Marroquin’s and Raul Garcia’s motions to dismiss add, “[t]here is no allegation that, if
264
    Sanchez, 139 F.3d at 466–67 (citations omitted).
265
    Rich v. Palko, 920 F.3d 288, 294 (5th Cir. 2019) (quotation omitted), cert. denied, 140 S. Ct. 388 (2019).
266
    Id. (quoting Vann v. City of Southaven, 884 F.3d 307, 310 (5th Cir. 2018)).
267
    Garcia v. Blevins, No. 19-20494, 2020 WL 2078391, at *3 (5th Cir. Apr. 30, 2020).
268
    Burns-Toole v. Byrne, 11 F.3d 1270, 1274 (5th Cir. 1994).
269
    Rich, 920 F.3d at 294 (quotations omitted).
270
    Dkt. Nos. 125–130.


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true, shows a violation of the constitution or federal law. There likewise is no allegation that [the

Defendant] violated clearly established law or that he behaved in a way that no reasonable

officer could have seen as appropriate. Therefore, [Defendants are] entitled to qualified

immunity . . . .”271 Plaintiffs disagree, and argue that “Starr County deputies had a duty to

provide adequate medical care and protection from harm to Mr. Muñoz.”272 Many of the cases

Plaintiffs cite to establish this duty, however, concern the Eighth Amendment.273 This is likely

because Eighth Amendment precedents offer more judicial guidance to prisoners’ rights than

other precedents do for detainees.274 As previously discussed, this Court considers “a person

detained for deportation to be the equivalent of a pretrial detainee; a pretrial detainee's

constitutional claims are considered under the due process clause instead of the Eighth

Amendment.”275 Accordingly, no Eighth Amendment case can “clearly establish” Mr. Muñoz’s

right that was allegedly violated.276 With respect to the right at issue, Defendants point out277 that

“[n]o decision of th[e Supreme] Court establishes a right to the proper implementation of

adequate suicide prevention protocols. No decision of th[e Supreme] Court even discusses

suicide screening or prevention protocols.”278




271
    Dkt. No. 142–143.
272
    Dkt. No. 134 at 19, ¶ 44.
273
    See, e.g., Dkt. No. 146 at 10–12, ¶¶ 27–34 (citing Gobert v. Caldwell, 463 F.3d 339 (5th Cir. 2006); Easter v.
Powell, 467 F.3d 459, 463 (5th Cir. 2006); Austin v. Johnson, 328 F.3d 204, 210 (5th Cir. 2003); Domino v. Tex.
Dep’t of Criminal Justice, 239 F.3d 752 (5th Cir. 2001); Harris v. Hegmann, 198 F.3d 153 (5th Cir. 1999)).
274
    Cf. Ziglar v. Abbasi, 137 S. Ct. 1843, 1864 (2017) (internal quotation marks and citation omitted) (“The
[Supreme] Court has long made clear the standard for claims alleging failure to provide medical treatment to a
prisoner—deliberate indifference to serious medical needs. The standard for a claim alleging that a warden allowed
guards to abuse pre-trial detainees is less clear under the Court's precedents.”).
275
    Edwards v. Johnson, 209 F.3d 772, 778 (5th Cir. 2000).
276
    See Rroku v. Cole, 726 F. App'x 201, 206 (5th Cir. 2018) (holding that even “markedly similar claims brought
under different amendments should not automatically be considered analogous”).
277
    Dkt. No. 150 at 11, ¶ 22.
278
    Taylor v. Barkes, 575 U.S. 822, 135 S. Ct. 2042, 2044 (2015) (per curiam).


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          Nevertheless, Plaintiffs are correct279 that “the law is clearly established that jailers must

take measures to prevent [pretrial detainee] suicides once they know of the suicide risk,”

although the Fifth Circuit “cannot say that the law is established with any clarity as to what those

measures must be.”280 Broadly, “[t]he constitutional violation alleged here stems from the Due

Process clause of the Fourteenth Amendment, under which a ‘pretrial detainee ... ha[s] a clearly

established ... right not to be denied, by deliberate indifference, attention to his serious medical

needs.’ This right includes protection from known suicidal tendencies.”281 Accordingly, the

Court finds, under the second prong of the qualified immunity test, that Mr. Muñoz’s right to

protection from suicide was clearly established on May 13, 2018. The question remains whether

Plaintiffs have adequately alleged violation of Mr. Muñoz’s constitutional right.

          Pretrial detainees have the right not to be denied attention to medical needs by deliberate

indifference.282 “To prove deliberate indifference, a pretrial detainee must show that the state

official [1] knew of and [2] disregarded an excessive risk to the inmate's health or safety.”283

This “deliberate indifference” standard requires more than negligence or oversight; “to defeat

qualified immunity, the plaintiffs must establish that the officers . . . were aware of a substantial

and significant risk [of suicide], but effectively disregarded it.”284 “Deliberate indifference is an

extremely high standard to meet.”285 “Deliberate indifference requires a showing of more


279
    See Dkt. No. 146 at 13, ¶ 36–37.
280
    Jacobs v. W. Feliciana Sheriff's Dep't, 228 F.3d 388, 394–95 (5th Cir. 2000) (quoting Hare v. City of Corinth,
135 F.3d 320, 328–29 (5th Cir. 1998)); accord Hare v. City of Corinth, 74 F.3d 633, 644 (5th Cir. 1996) (en banc)
(recognizing a duty to assume responsibility for the safety of pretrial detainees and adding “[t]he State's obligation
to prevent suicide may implicate a kaleidoscope of related duties, including a duty to provide not only medical care,
but also protection from self-inflicted harm”).
281
    Estate of Pollard v. Hood Cty., 579 F. App'x 260, 264–65 (5th Cir. 2014) (alterations and omissions in original)
(quoting Flores v. Cty. of Hardeman, 124 F.3d 736, 738 (5th Cir. 1997)).
282
    See supra note 281 and accompanying text.
283
    Gibbs v. Grimmette, 254 F.3d 545, 549 (5th Cir. 2001), quoted in Brumfield v. Hollins, 551 F.3d 322, 331 (5th
Cir. 2008). Worded differently, the standard is “whether [jailers] had gained actual knowledge of the substantial risk
of suicide and responded with deliberate indifference.” Hare v. City of Corinth, 74 F.3d 633, 650 (5th Cir. 1996).
284
    Jacobs, 228 F.3d at 395.
285
    Calton v. Livingston, 478 F. App'x 77, 79 (5th Cir. 2012) (quotation omitted).


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than . . . even gross negligence. Actions and decisions by officials that are merely inept,

erroneous, ineffective, or negligent do not amount to deliberate indifference and do not divest

officials of qualified immunity.”286 Furthermore, “it is well established that an officer's failure to

follow prison rules, standing alone, does not warrant relief under 42 U.S.C. § 1983. To prevail, a

civil rights plaintiff must demonstrate a constitutional violation.”287 However, “[t]o be sure, a

knowing failure to execute policies necessary to an inmate's safety may be evidence of an

officer's deliberate indifference.”288

          Plaintiffs assert that the Second Amended Complaint “provably alleges that (1) Starr

County refused to provide an adequate system of suicide screening and medical care with mental

health services for pretrial detainees at risk of suicide, and (2) the County had a policy or practice

of holding at-risk suicidal pre-trial detainees in dangerous cells without Texas-mandated

monitoring.”289 Plaintiffs’ reply in support of their motion for leave to file the Third Amended

Complaint relies on this same argument.290 The Court will summarize Plaintiffs’ allegations in

the proposed Third Amended Complaint to assess whether Plaintiffs state a plausible claim that

Starr County jailers reacted to Mr. Muñoz’s medical needs with deliberate indifference, which

would disentitle those jailers to immunity.




286
    Estate of Davis ex rel. McCully v. City of N. Richland Hills, 406 F.3d 375, 381 (5th Cir. 2005) (internal quotation
marks and footnotes omitted).
287
    Calton v. Livingston, No. CIV.A. H-09-2507, 2011 WL 2118700, at *12 (S.D. Tex. May 27, 2011) (Atlas, J.)
(citations omitted), aff'd, 478 F. App'x 77 (5th Cir. 2012).
288
    Arenas v. Calhoun, 922 F.3d 616, 624 (5th Cir. 2019).
289
    Dkt. No. 134 at 9, ¶ 15.
290
    Dkt. No. 152 at 5, ¶ 12 (citing Dkt. No. 134) (“For the reasons discussed at length in Ms. Peña Arita’s Response
to Starr County Defendants’ motion to dismiss, Ms. Peña Arita’s Second Amended Complaint plausibly alleges that
the Starr County defendants are liable for Mr. Muñoz’s preventable death. Ms. Peña Arita’s proposed Third
Amended Complaint, which simply contains additional facts regarding individual defendants, likewise states a valid
claim for relief.”).


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          The Court shall analyze each jailer Defendants’ conduct to assess whether qualified

immunity attaches.291 In Plaintiffs’ proposed Third Amended Complaint, with respect to the

conduct of the jailer Defendants, Plaintiffs allege that, upon booking Mr. Muñoz, Starr County

Jail officials knew that Mr. Muñoz “was assaultive, potentially suicidal, mentally ill, and/or had

demonstrated bizarre behavior.”292 Defendants Hector Lopez, Crecencio Galvan, and Clyde

Guerra took custody of Mr. Muñoz when he was “agitated and erratic.”293 Defendant Crecencio

Galvan called Mr. Muñoz a “rowdy” or aggressive detainee upon receiving him,294 and

“Defendant Galvan” knew that Mr. Muñoz “was not thinking straight” and had alleged that CBP

officers killed his family.295 Defendant Hector Lopez knew that CBP failed to deliver medical

clearance paperwork with Mr. Muñoz and Defendant CBP Agent Jorge Flores specifically

advised Hector Lopez and Raul Garcia of Mr. Muñoz’s allegedly faked seizure “and that Mr.

Muñoz had accused CBP agents of killing his wife and children.”296 Defendants Hector Lopez

and “Galvan” processed Mr. Muñoz’s booking and observed Mr. Muñoz “bec[o]me frantic” and

start ripping up documents that Mr. Muñoz believed were a precursor to killing him.297

Defendants Hector Lopez and “Galvan” grabbed Mr. Muñoz’s arm during a struggle and forced

him into a “‘detox’ padded cell,” where Hector Lopez observed Mr. Muñoz hit himself against a

window in the cell and state that Defendants Hector Lopez and “Galvan” were trying to kill

him.298 Defendants “Lopez and Galvan” also permitted Mr. Muñoz to keep his clothes in the

padded cell.299 “Defendant Galvan” completed the booking process after Hector Lopez departed,


291
    See supra note 258.
292
    Dkt. No. 144-1 at 16, ¶ 95.
293
    Id. ¶ 96.
294
    Id. ¶ 95.
295
    Id. at 17, ¶ 102.
296
    Id. at 16–17, ¶ 99.
297
    Id. at 18, ¶ 107.
298
    Id. at 17–18, ¶¶ 105–109.
299
    Id. at 18, ¶ 111.


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during which Defendant Galvan noted that Mr. Muñoz insisted that “Starr County jailers” had

killed his family and insisted on shaking hands with every jailer.300 Defendant Galvan placed Mr.

Muñoz back in the padded cell in Mr. Muñoz’s civilian clothes.301 All jailers permitted Mr.

Muñoz to keep his civilian clothes.302

          While Mr. Muñoz was detained in Starr County Jail, Defendant Evelario Garza learned of

Mr. Muñoz’s interactions with the booking officers and belief that Starr County officials had

killed Mr. Muñoz’s family.303 Defendant Evelario Garza believed he was responsible for

checking the feed from the camera observing Mr. Muñoz’s cell.304 Defendant Sammy Marroquin

believed he was responsible for physically checking Mr. Muñoz.305 Defendants Sammy

Marroquin and Alex Garcia spoke to and checked on Mr. Muñoz three times between 8:00 and

10:00 a.m. on May 13, 2018.306 However, Defendant Sammy Marroquin stated in a report of the

incident that “he did not check on Mr. Muñoz at all until around 10:00 am.”307

          Plaintiffs allege that, having observed Mr. Muñoz’s distraught behavior, “Starr County

detention officers knew or should have known that Mr. Muñoz posed a danger to himself or

others” yet failed to seek psychiatric care.308 Plaintiffs allege that Starr County jailers failed to

comply with Texas Commission on Jail Standards regulations requiring face-to-face checks of

Mr. Muñoz every 30 minutes309 and failed to systematically monitor the cameras surveying Mr.




300
    Id. at 19, ¶ 114.
301
    Id. ¶ 115.
302
    Id. ¶ 116.
303
    Id. at 20, ¶¶ 121–122.
304
    Id.¶ 123.
305
    Id. at 22, ¶ 130.
306
    Id. ¶ 131.
307
    Id. ¶ 132.
308
    Id. at 19, ¶¶ 112–113.
309
    See 37 TEX. ADMIN. CODE § 275.1 (2018).


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Muñoz’s cell.310 While not being observed or visited, Mr. Muñoz asphyxiated himself with the

sweater and was not found until approximately 40 minutes after his death.311

          The Court holds that none of these allegations overcome the jailer Defendants’ qualified

immunity and that Plaintiffs have failed to carry their burden to defeat qualified immunity.

“Anger, hostility, and belligerence are not uncommon displays of conduct by pretrial detainees

or other persons held in custody.”312 The mere fact that a detainee is hostile, belligerent,

distraught, or erratic and is placed in a jail cell in which it is possible for the detainee to commit

suicide is insufficient to establish the requisite “deliberate indifference” standard.313 Although

the Court acknowledges that Mr. Muñoz’s behavior as alleged was bizarre and clearly troubled,

the Court is unable to say, assuming all of Plaintiffs’ allegations are true and drawing all

reasonable inferences in Plaintiffs’ favor, that at any point any one Starr County jailer became

aware of a significant risk of Mr. Muñoz’s suicide. Plaintiffs do not allege that Mr. Muñoz

threatened suicide, talked about killing himself, expressed that he was depressed, or indicated, as

Plaintiffs assert, “multiple suicide risk factors.”314 The only allegation that comes close is

Plaintiffs’ allegation that “Starr County officers knew that Mr. Muñoz was assaultive, potentially

suicidal, mentally ill, and/or had demonstrated bizarre behavior.”315 However, this allegation

does not identify any one jailer and is conclusory. When the conduct of each jailor is segregated

as to that jailor, the allegations simply fail to show that that jailer knew of and disregarded the

risk of suicide. The Court cannot use the benefit of hindsight, in light of the fact that Mr. Muñoz




310
    Dkt. No. 144-1 at 20–24, ¶¶ 118–147.
311
    Id.
312
    Posey v. Sw. Bell Tel. L.P., 430 F. Supp. 2d 616, 623 (N.D. Tex. 2006).
313
    See id.
314
    Dkt. No. 134 at 16, ¶ 34.
315
    Dkt. No. 144-1 at 16, ¶ 95.


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did commit suicide, to establish that his distraught behavior in the approximate 24-hour period316

that he was in the custody of Starr County jailers was a prelude to suicide.317

          The Court’s holding is consistent with Fifth Circuit precedent. In Branton v. City of Moss

Point, the Fifth Circuit dealt with a pretrial detainee who, upon being cited for the crime of

driving under the influence, commented that he would lose everything, punched a hole in a wall,

fought with police officers, and remarked that his life was over and he might as well be shot.318

The Fifth Circuit held that, even though state authorities were aware of this behavior and left the

individual detainee alone in a jail cell for two hours where he eventually killed himself by

hanging, the authorities did not have “actual knowledge of a substantial risk of suicide.”319

Moreover, in a different case, the Fifth Circuit held that jailers’ failure to comply with strict

fifteen-minute-interval observation orders and neglecting to remove a laundry bag from a cell

“did not reflect deliberate indifference to [an inmate’s] known suicide risk.”320 These cases

involve allegations that authorities were more aware of a potential risk of suicide, but their

failures to prevent suicide did not amount to deliberate indifference. The Court agrees with

Defendants that the allegations in Plaintiffs’ proposed Third Amended Complaint fall short of

alleging deliberate indifference, and therefore fail to make out a violation of a constitutional right

under the first prong of the qualified immunity test.321 Accordingly, the Court GRANTS the

individual State Defendants’ motions to dismiss322 and DENIES Plaintiffs’ motion to amend323


316
    Plaintiffs’ allegations are unclear regarding how long Mr. Muñoz was in the custody of respective Defendants.
317
    See Arebalo v. Swisher Cty., No. 2:13-CV-082-J, 2013 WL 4475606, at *2 (N.D. Tex. Aug. 21, 2013) (citing
Graham v. Connor, 490 U.S. 386, 396–97 (1989) & Poole v. City of Shreveport, 691 F.3d 624, 630 (5th Cir. 2012))
(“Claims of qualified immunity are not judged on twenty-twenty hindsight, or in light of knowledge ascertained
after an event, but by looking through the eyes of the public official, considering what that official knew about the
situation at the relevant time.”).
318
    261 F. App'x 659 (5th Cir. 2008).
319
    Id. at 661.
320
    Estate of Pollard v. Hood Cty., 579 F. App'x 260, 265 (5th Cir. 2014) (emphasis added).
321
    See Dkt. No. 149 at 9 & Dkt. No. 150 at 10, ¶¶ 20–21.
322
    Dkt. Nos. 125, 126, 127, 128, 129, 142, and 143.


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to the extent Plaintiffs would attempt to allege 42 U.S.C. § 1983 claims against the individual

State Defendants. Plaintiffs’ claims under 42 U.S.C. § 1983 with respect to Alex Garcia,

Crecencio Galvan, Evelario Garza, Clyde Guerra, Hector Lopez, Sammy Marroquin, and Raul

Garcia are DISMISSED WITH PREJUDICE.

Liability with Respect to Defendants Sheriff Rene “Orta” Fuentes and Starr County, Texas

          Plaintiffs allege in the proposed Third Amended Complaint that “Defendant Rene ‘Orta’

Fuentes is the duly elected Starr County Sheriff, and served in this position at all relevant times.

He is sued in his official capacity.”324 Plaintiffs also allege, “Starr County Sheriff, Rene ‘Orta’

Fuentes, is and at all relevant times was responsible for setting policy and directing customs at

the Starr County Jail. Sheriff Fuentes had actual or constructive knowledge that the Starr County

Jail was not adequately monitoring detainees and failing to provide a suicide-safe

environment.”325 Defendant Fuentes moves to dismiss any claim of supervisory liability against

him.326 In both the Second and Third Amended Complaint, Plaintiffs are suing Defendant

Fuentes in his official capacity only.327 Accordingly, Plaintiffs’ claims against Defendant

Fuentes in his official capacity are claims against Starr County, not claims against the individual

Sheriff.328 The Court therefore considers Defendant Fuentes’s and Starr County’s motions and

arguments together.329

          With respect to Defendant Starr County, Plaintiffs allege in the proposed Third Amended

Complaint:


323
    Dkt. No. 144.
324
    Dkt. No. 144-1 at 6, ¶ 23.
325
    Id. at 32, ¶ 199.
326
    Dkt. No. 130 at 3–4.
327
    Dkt. No. 134 at 18, ¶ 40 (““Plaintiffs do not seek to hold Sheriff Fuentes responsible for Mr. Muñoz’s death
under a theory of supervisory liability. Instead, Plaintiffs named Sheriff Fuentes in his official capacity in a suit
against his office, alleging sufficient facts to show that he is the final policymaker for Starr County Jail.”).
328
    See Hafer v. Melo, 502 U.S. 21, 25 (1991).
329
    Dkt. Nos. 130–131, 149.


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          197. Defendant County of Starr, Texas, had, or has, a custom of failing to
          adequately monitor inmates at risk of self-harm, including in contravention of
          binding regulations promulgated by the Texas Commission on Jail Standards.
          198. Starr County was deliberately indifferent to, and allowed to continue, the
          persistent, widespread custom of inadequately monitoring and providing care to
          detainees. Starr County failed to supervise, investigate, or discipline officers for
          fostering a high-risk environment for suicide, such as monitoring detainees at
          irregular intervals and routinely altering the monitoring logs.330

Starr County seeks to dismiss any claim against it for municipal liability. 331 Plaintiffs oppose

dismissal.332 The parties maintain their arguments in response to Plaintiffs’ motion for leave to

file the Third Amended Complaint.333

          Here, the Court assumes that Defendant Fuentes is the official policymaking authority for

Starr County with respect to its jail standards and operating procedures. 334 Therefore, because

Plaintiffs’ claims against Defendant Fuentes in his official capacity are the same as claims

against Starr County, “municipal liability under section 1983 requires proof of three elements:

(1) a policymaker [here, Defendant Fuentes]; (2) an official policy; and (3) violation of

constitutional rights whose moving force is the policy or custom.”335 “Respondeat superior or

vicarious liability will not attach under § 1983.”336 Therefore, the “unconstitutional conduct must

be directly attributable to the municipality through some sort of official action or imprimatur.”337

Isolated or random unconstitutional actions, even by official municipal employees, will seldom

trigger policy liability.338 Also, there are two forms of “official policy,” which are (1) formal

policies announced via official channels, and (2) “a ‘persistent widespread practice of city
330
    Dkt. No. 144-1 at 32, ¶¶ 197–198.
331
    Dkt. No. 131 at 3–4.
332
    Dkt. No. 134 at 14, 17.
333
    Dkt. No. 149 at 12–13; Dkt. No. 152 at 5, ¶ 12.
334
    See Garza v. City of Donna, 922 F.3d 626, 637 (5th Cir.), cert. denied, 140 S. Ct. 651 (2019) (“We have
previously found that Texas police chiefs are final policymakers for their municipalities, and it has often not been a
disputed issue in the cases.”).
335
    Bishop v. Arcuri, 674 F.3d 456, 467 (5th Cir. 2012) (alteration in original) (quotation omitted).
336
    City of Canton v. Harris, 489 U.S. 378, 385 (1989).
337
    Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001).
338
    Id.


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officials or employees, which, although not authorized by officially adopted and promulgated

policy, is so common and well settled as to constitute a custom that fairly represents municipal

policy.’”339 There is, however, a high bar to prove an official custom:

          Where prior incidents are used to prove a pattern, they must have occurred for so
          long or so frequently that the course of conduct warrants the attribution to the
          governing body of knowledge that the objectionable conduct is the expected,
          accepted practice of city employees. It is thus clear that a plaintiff must
          demonstrate a pattern of abuses that transcends the error made in a single case. A
          pattern requires similarity and specificity; prior indications cannot simply be for
          any and all bad or unwise acts, but rather must point to the specific violation in
          question. A pattern also requires sufficiently numerous prior incidents, as opposed
          to isolated instances.340

The official policymaker must be chargeable with actual or constructive knowledge of the

custom to hold the municipality liable.341 Lastly, the third element requires “a direct causal link

between the municipal policy and the constitutional deprivation,” or a substantial demonstration

that the policy or custom is the “moving force” behind the constitutional violation.342

          The Court must begin by “deciding whether to classify the “challenge as an attack on a

‘condition of confinement’ or as an ‘episodic act or omission.’”343 ‘Constitutional attacks on

general conditions, practices, rules, or restrictions of pretrial confinement are referred to as ‘jail

condition cases.’”344 On the other hand, a claim based on particular acts or omissions by one or

more jail officials is referred to as an episodic acts or omissions claim.345 Plaintiffs argue that

they can satisfy both standards.346 A plaintiff is entitled to bring both claims as alternative


339
    Zarnow v. City of Wichita Falls, 614 F.3d 161, 169 (5th Cir. 2010) (quoting Webster v. City of Houston, 735 F.2d
838, 841 (5th Cir. 1984)).
340
    Peterson v. City of Fort Worth, 588 F.3d 838, 850–51 (5th Cir. 2009) (alteration deleted) (internal quotation
marks and citations omitted).
341
    Okon v. Harris Cty. Hosp. Dist., 426 F. App'x 312, 316 (5th Cir. 2011).
342
    Piotrowski, 237 F.3d at 580.
343
    Olabisiomotosho v. City of Houston, 185 F.3d 521, 526 (5th Cir. 1999) (quoting Scott v. Moore, 114 F.3d 51, 53
(5th Cir. 1997) (en banc)).
344
    Hare v. City of Corinth, 74 F.3d 633, 644 (5th Cir. 1996).
345
    Id. at 645.
346
    Dkt. No. 134 at 11, ¶ 19 n.3.


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theories of liability.347 The Court is to evaluate each claim separately,348 and will begin with the

episodic acts-or-omissions claim because the Court “employ[s] different standards depending on

whether the liability of the individual defendant or the municipal defendant is at issue.”349 “To

establish municipal liability in an episodic-act case, a plaintiff must show ‘(1) that the municipal

employee[s] [here, jailers] violated the pretrial detainee's clearly established constitutional rights

with subjective deliberate indifference; and (2) that this violation resulted from a municipal

policy or custom adopted and maintained with objective deliberate indifference.’”350 To show

“subjective deliberate indifference” under the first prong, “a plaintiff must show that public

officers were [1] aware of facts from which an inference of a substantial risk of serious harm to

an individual could be drawn; [2] that they actually drew the inference.”351 To show “objective

deliberate indifference” under the second prong, the applicable custom or policy or training must

have been so obviously inadequate and, due to its inadequacy, so likely to result in a violation of

constitutional rights “that the policymakers of the city can reasonably be said to have been

deliberately indifferent to the need.”352 “It must be obvious that the likely consequences of not

adopting a policy will be a deprivation of civil rights.”353 “While the municipal policy-maker's

failure to adopt a precaution can be the basis for § 1983 liability, such omission must amount to

an intentional choice, not merely an unintentionally negligent oversight.”354




347
    Garza v. City of Donna, 922 F.3d 626, 633 n.3 (5th Cir.), cert. denied, 140 S. Ct. 651 (2019).
348
    Estate of Henson v. Wichita Cty., 795 F.3d 456, 464 (5th Cir. 2015).
349
    Olabisiomotosho, 185 F.3d at 526 (citing Hare v. City of Corinth, 74 F.3d 633, 649 n.4 (5th Cir. 1996)).
350
    Garza, 922 F.3d at 634 (quoting Brumfield v. Hollins, 551 F.3d 322, 331 (5th Cir. 2008)).
351
    Id. (alterations in original); see also Olabisiomotosho, 185 F.3d at 526 (quotation omitted) (“Subjective deliberate
indifference means the official had subjective knowledge of a substantial risk of serious harm to a pretrial detainee
but responded with deliberate indifference to that risk.”).
352
    Farmer v. Brennan, 511 U.S. 825, 840–41 (1994) (quotation omitted), quoted in Hare v. City of Corinth, 74 F.3d
633, 649 n.4 (5th Cir. 1996).
353
    Brown v. Callahan, 623 F.3d 249, 257 (5th Cir. 2010) (quotation omitted).
354
    Rhyne v. Henderson Cty., 973 F.2d 386, 392 (5th Cir. 1992).


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          The Court has addressed the first prong in the preceding section and has found it to be

lacking. Nonetheless, the Court considers the second prong—the existence of a policy or custom.

Plaintiffs argue that they have alleged “a ‘pattern of violations’ stemming from a failure to train

or supervise: (a) Starr County [officers] regularly violated the Texas regulations’ requirement of

face-to-face checks every thirty minutes; (b) Starr County [officers] routinely falsified records to

appear in compliance with Texas regulations; and (c) no supervisor had ever punished these

breaches of Texas regulations. [Officers] were never supervised, investigated, or disciplined for

deviating from basic State regulations or for falsifying logs.”355 Plaintiffs allege that applicable

jail standards required checks on Mr. Muñoz at least every 30 minutes, but that jailers falsified

the logs to make it appear that such checks were being done.356 Therefore, the necessary

inference is that the policymaker, Defendant Fuentes, was being misled to believe that the 30-

minute checks were being diligently accomplished. Far from alleging that Defendant Fuentes

was aware of “facts from which an inference of a substantial risk of serious harm to an individual

could be drawn,”357 Plaintiffs suggest that Defendant Fuentes was not made aware of such facts.

Without more, Defendant Fuentes’s failure to interrogate his jailers or otherwise investigate the

veracity of jail observation records does not amount to deliberate indifference of detainees’

constitutional rights.358 Even if Defendant Fuentes was negligent in ensuring the detainee checks

were being accomplished, such failure cannot amount to deliberate indifference.359 Plaintiffs

further allege that “[a] May 2018 Texas Commission on Jail Standards review of the Starr

County Jail’s compliance with this [observation] regulation around the time of Mr. Muñoz’s

355
    Dkt. No. 134 at 15, ¶ 33. Failure-to-train claims are predicated on the same “deliberate indifference” standard as
used in episodic-act-or-omission claims, so the Court’s holding is the same under either theory of liability. See
Estate of Davis ex rel. McCully v. City of N. Richland Hills, 406 F.3d 375, 381 (5th Cir. 2005).
356
    Dkt. No. 144-1 at 21, ¶ 127.
357
    Garza v. City of Donna, 922 F.3d 626, 634 (5th Cir.), cert. denied, 140 S. Ct. 651 (2019).
358
    See Coon v. Ledbetter, 780 F.2d 1158, 1162 (5th Cir. 1986) (holding that, where a sheriff accepted his
subordinates’ version of what transpired, the defense of such conduct does not amount to policy liability).
359
    See supra notes 351–354 and accompanying text.


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death found that the Jail was not in compliance, with checks taking place as much as 169 minutes

apart.”360 But Plaintiffs conveniently omit that this report is dated May 30, 2018, and could not

have provided notice to any policymaker of the Starr County Jail’s noncompliance until after Mr.

Muñoz’s death.361

          To save their claim, Plaintiffs argue that “[t]he patterns shown in this incident represent a

pervasive culture of deliberate indifference to suicide prevention.”362 Recognizing that the 2-day

period described in Plaintiffs’ proposed Third Amended Complaint is unlikely to establish a

pervasive pattern,363 Plaintiffs cite to Grandstaff v. City of Borger,364 where the Fifth Circuit

found from an incident of “repeated acts of abuse on [one] night,”365 culminating in all officers

of one municipal police department firing at an innocent motorist, “so gross an abuse of the use

of deadly weapons” and such “incompetent and catastrophic performance,” that, where the City

policymaker failed to discipline after the conduct at issue, the incident was “sufficient to show an

official policy of condoning such abuses.”366 Plaintiffs invoke this precedent in light of their

allegation that “Starr County failed to supervise, investigate, or discipline officers for fostering a

high-risk environment for suicide, such as monitoring detainees at irregular intervals and

routinely altering the monitoring logs.”367 The Court finds this argument lacking. Although the

Grandstaff precedent has not been overruled and is good law, the case “has not enjoyed wide


360
    Dkt. No. 144-1 at 21, ¶ 126.
361
    TEX. COMM’N ON JAIL STANDARDS, SPECIAL INSPECTION REPORT (May 30, 2018),
https://www.texasjailproject.org/wp-content/uploads/2019/12/TCJS-Non-compliant-Starr_Special_NC_5-30-
2018.pdf; Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011) (holding that courts may take judicial notice of
public records).
362
    Dkt. No. 134 at 15, ¶ 34.
363
    See Fuentes v. Nueces Cty., 689 F. App'x 775, 778 (5th Cir. 2017) (citations omitted) (“Although there is no rigid
rule regarding numerosity, we have previously held that 27 prior incidents of excessive force over a three-year
period and 11 incidents offering ‘equivocal evidence’ of unconstitutional searches over a three-year period were not
sufficiently numerous to constitute a pattern.”).
364
    767 F.2d 161 (5th Cir. 1985).
365
    Id. at 171.
366
    Fuentes, 689 F. App'x at 779 (quoting Grandstaff, 767 F.2d 161 passim).
367
    Dkt. No. 144-1 at 32, ¶ 198.


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application in our circuit. We have limited its ratification theory to extreme factual situations.”368

“[U]nless the subordinate's actions are sufficiently extreme—for instance, an obvious violation

of clearly established law—a policymaker's ratification or defense of his subordinate's actions is

insufficient to establish an official policy or custom.”369 In other words, Grandstaff

“does not stand for the broad proposition that if a policymaker defends his subordinates and if

those subordinates are later found to have broken the law, then the illegal behavior can be

assumed to have resulted from an official policy.”370

          The Court holds that Plaintiffs’ allegations that unidentified Starr County jail employees

falsified detainee observation logs371 simply does not represent the “extreme factual situation” to

conclude that Defendant Sheriff Fuentes has an official policy of condoning noncompliant

detainee observation.372 “Unlike Grandstaff, this case does not involve the collective conduct of

many individuals and multiple bad acts but rather” the failures of a few jailers to properly

observe a detainee, which is not so “incompetent and catastrophic [a] performance as that of the

officers in Grandstaff.”373 The Court emphasizes the severity of the conduct at issue in

Grandstaff—police officers knew an innocent bystander might be in the truck and, “without

awaiting any hostile act or sound . . . poured their gunfire at the truck and into the person of

James Grandstaff. They showed no inclination to avoid inflicting unnecessary harm upon

innocent people. They simply saw a target and fired.”374—as compared to the allegations in this

case: “Defendants did not check on Mr. Muñoz every 30-minutes as required by applicable



368
    Barkley v. Dillard Dep't Stores, Inc., 277 F. App'x 406, 413 (5th Cir. 2008).
369
    World Wide St. Preachers Fellowship v. Town of Columbia, 591 F.3d 747, 755 (5th Cir. 2009).
370
    Coon v. Ledbetter, 780 F.2d 1158, 1161 (5th Cir. 1986).
371
    See Dkt. No. 144-1 at 21–22, ¶¶ 126–132.
372
    See Coon, 780 F.2d at 1161 (“The Grandstaff panel emphasized the extraordinary facts of the case, and its
analysis can be applied only to equally extreme factual situations.”).
373
    Fuentes v. Nueces Cty., 689 F. App'x 775, 779 (5th Cir. 2017) (quotation omitted).
374
    Grandstaff v. City of Borger, 767 F.2d 161, 167–68 (5th Cir. 1985).


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standards, and later falsified the logs to make it appear as if they had.”375 Though this Court

would not condone failures to comply with minimal standards for detainee observation and

prevarications thereof, the Court holds that the allegations in this case do not show “repeated acts

of abuse on [these days], by several officers in several episodes, tending to prove a disposition to

disregard human life and safety so prevalent as to be police policy or custom.”376

          In a final effort to save their episodic-act-or-omission claim, Plaintiffs argue that

“[e]mploying only meager measures that [jailers and municipalities] know or should know to be

ineffectual amounts to deliberate indifference.”377 This argument requires some explication.

Plaintiffs invoke Judge Goldberg’s special concurrence in Rhyne v. Henderson County. In Rhyne,

the Fifth Circuit panel majority held, affirming the District Court’s judgment as a matter of law,

that state officials were not deliberately indifferent under 42 U.S.C. § 1983 to a jail suicide.378

Judge Goldberg concurred that plaintiff did not sustain her burden, but wrote separately that

          What we learn from the experiences of Henderson County is that when jailers
          know a detainee is prone to committing suicide, a policy of observing such a
          detainee on a periodic, rather than on a continuous, basis, will not suffice. . . .
          Jailers and municipalities beware! Suicide is a real threat in the custodial
          environment. Showing some concern for those in custody, by taking limited steps
          to protect them, will not pass muster unless the strides taken to deal with the risk
          are calculated to work: Employing only meager measures that jailers and
          municipalities know or should know to be ineffectual amounts to deliberate
          indifference. To sit idly by now and await another, or even the first, fatality, in the
          face of the Henderson County tragedy, would surely amount
          to deliberate indifference.379

The Fifth Circuit partly acknowledges this reasoning, and recently held that “America faces an

epidemic of suicide by individuals in custody. . . . It is clear that more can and must be done to



375
    Dkt. No. 144-1 at 21, ¶ 127.
376
    Grandstaff., 767 F.2d at 171.
377
    Dkt. No. 134 at 15, ¶ 32 (second alteration in original) (quoting Estate of Schroeder v. Gillespie Cty., 23 F. Supp.
3d 775, 788 (W.D. Tex. 2014) (Sparks, J.)).
378
    973 F.2d 386 (5th Cir. 1992).
379
    Id. at 396 (Goldberg, J., concurring) (alteration deleted) (quotation omitted).


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address suicides in prisons and jails.”380 Plaintiffs rely on Judge Goldberg’s 1992 concurrence to

assert that Defendant Fuentes’s policy in this case, even if compliant with Texas Commission on

Jail Standards regulations calling for periodic observation, was the type of “meager measure”

that reflects deliberate indifference to detainee suicide. But even if the Court were to grant

consideration to Judge Goldberg’s concurrence as if it carried controlling precedential weight,

Plaintiffs’ argument would be insufficient. Critically, Plaintiffs’ only allegation that the Starr

County jail standards is an insufficient or a “meager measure” is that the “Texas Commission on

Jail Standards regulations represent a minimum standard that may not be appropriate in

circumstances where, as in Mr. Muñoz’s, more frequent supervision is needed.”381 The Court

finds Plaintiffs’ argument flawed, because Plaintiffs only allege that more frequent supervision

than Defendant Fuentes had in place “may not be appropriate,” but point to no allegation or

evidence that the Starr County Jail policy was a “meager measure” that Defendant Fuentes

should have known would be ineffectual.382 Even if Plaintiffs had alleged that the Starr County

Jail policy was an ineffectual or meager measure that reflected deliberate indifference, such

allegation would be conclusory and not entitled to any weight.383 The Court holds that Plaintiffs

have failed to establish subjective deliberate indifference on the part of the municipal employee

jailers under the first prong of the test for all the reasons elaborated in this and the previous

Section.384

          The Court now turns to Plaintiffs’ conditions of confinement claim,385 which is an

alternative theory of policymaker liability that the Court evaluates independently. 386 Where a


380
    Hyatt v. Thomas, 843 F.3d 172, 180 (5th Cir. 2016).
381
    Dkt. No. 144-1 at 20, ¶ 120.
382
    See Rhyne, 973 F.2d at 393 (holding that, where the plaintiff made no showing that the jail standards were
“obviously inadequate,” there was no jury question to be resolved).
383
    See supra notes 72–73 and accompanying text.
384
    See infra text accompanying notes 396–401 for a discussion of the second prong of the test.
385
    See Dkt. No. 134 at 9, ¶ 15 (citing Dkt. No. 61 at 15–16, ¶¶ 75–84).


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plaintiff makes a conditions-of-confinement claim, the plaintiff is making a constitutional attack

“on general conditions, practices, rules, or restrictions of pretrial confinement” such as the

number of bunks in a cell or a detainee’s access to mail.387 “This court evaluates pretrial

detainees' constitutional complaints of Fourteenth Amendment violations [of jail conditions]

under . . . Bell v. Wolfish to determine ‘[i]f a particular condition or restriction of pretrial

detention is reasonably related to a legitimate governmental objective.’”388

          In a case challenging conditions of confinement, the proper inquiry is whether
          those conditions amount to punishment of the detainee. If a restriction or
          condition is not reasonably related to a legitimate goal—if it is arbitrary or
          purposeless—a court permissibly may infer that the purpose of the governmental
          action is punishment that may not constitutionally be inflicted upon
          detainees qua detainees. [The Fifth Circuit] has said that a condition may take the
          form of “a rule,” a “restriction,” “an identifiable intended condition or practice,”
          or “acts or omissions” by a jail official that are “sufficiently extended or
          pervasive.” Per Bell, such condition must be “not reasonably related to a
          legitimate governmental objective” and must cause the inmate's constitutional
          deprivation.389

“If the plaintiff has properly stated a claim as an attack on conditions of confinement, he is

relieved from the burden of demonstrating a municipal entity's or individual jail official's actual

intent to punish” because intent can be inferred from the unconstitutional condition.390 As an

example, one plaintiff successfully brought a conditions-of-confinement claim over a “bizarrely

high incidence of MRSA,” an infectious disease, at a county jail.391 However, the

unconstitutional confinement conditions must amount to more than de minimis violations:

“[I]solated examples of illness, injury, or even death, standing alone, cannot prove that

conditions of confinement are constitutionally inadequate. . . . Rather, a detainee challenging jail


386
    See supra notes 343–349 and accompanying text.
387
    Scott v. Moore, 114 F.3d 51, 53 (5th Cir. 1997) (en banc) (quotation omitted).
388
    Campos v. Webb Cty., 597 F. App'x 787, 791 (5th Cir. 2015) (quoting Bell v. Wolfish, 441 U.S. 520, 539 (1979)).
389
    Garza v. City of Donna, 922 F.3d 626, 632–33 (5th Cir.) (alteration, citations, and some internal quotation marks
omitted), cert. denied, 140 S. Ct. 651 (2019).
390
    Shepherd v. Dallas Cty., 591 F.3d 445, 452 (5th Cir. 2009).
391
    Duvall v. Dallas Cty., 631 F.3d 203 (5th Cir. 2011).


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conditions must demonstrate a pervasive pattern of serious deficiencies in providing for his basic

human needs.”392

          The Court holds that Plaintiffs conditions-of-confinement claim fails for a simple reason.

Plaintiffs pin their claim on the alleged conditions of Mr. Muñoz’s cell, the failure of suicide

oversight or prevention measures, and the failure to provide mental healthcare to Mr. Muñoz.393

However, these are essentially episodic allegations. Plaintiffs do not allege any pervasive pattern

or “continuing burden on inmate life.”394 Even assuming the truth of all of Plaintiffs’ allegations,

the failures are particularized to Mr. Muñoz. Plaintiffs do not allege any other suicide at Starr

County Jail or any other showing of systematic or patterned failures. As in the Fifth Circuit

Garza case, Plaintiffs’ attempt to allege a conditions-of-confinement claim “is an effort to fit a

square peg into a round hole. Prior conditions cases have concerned durable restraints or

impositions on inmates' lives like overcrowding, deprivation of phone or mail privileges, the use

of disciplinary segregation, or excessive heat.”395 The Court does not find any such durable

condition alleged here.

          The Court’s holding with respect to Plaintiff’s conditions of confinement claim also

illuminates the Court’s holding with respect to Plaintiff’s episodic acts or omissions claim. Even

if Plaintiffs could show “subjective deliberate indifference” under the first prong of the episodic

act or omission test, the Court would hold for the reasons elaborated above that Plaintiffs cannot

establish a municipal policy or custom maintained with objective deliberate indifference under

the second prong of the test. Plaintiffs argue that they have alleged the Starr County Jail’s




392
    Id. at 208 (quoting Shepherd v. Dallas Cty., 591 F.3d 445, 454 (5th Cir. 2009)).
393
    Dkt. No. 134 at 9–10, ¶¶ 16–17.
394
    Garza, 922 F.3d at 634.
395
    Id. at 633–34 (emphasis added).


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official custom “of having infrequent and irregular face-to-face checks,”396 but Plaintiffs rely on

the same allegations that the Court has already detailed and held are insufficient to state a

claim.397 Plaintiffs only add that a Court may consider the “totality of conditions” in recognizing

that several contributing factors or policies may have led to a particular violation.398 Although

the Court acknowledges that it “may properly consider how individual policies or practices

interact with one another within the larger system,”399 Plaintiffs argument suffers from the fatal

flaw that Plaintiffs have not alleged numerous prior incidences or any pattern of abuses that

could establish an official policy or custom.400 Whatever the failings alleged of the Starr County

Jail, they are episodic and particularized to Mr. Muñoz; they do not “demonstrate ‘a pattern of

abuses that transcends the error made in a single case.’”401

          Accordingly, the Court finds that Plaintiffs have failed to state a claim against Defendant

Sheriff Rene “Orta” Fuentes or Defendant Starr County, Texas under 42 U.S.C. § 1983. The

Court GRANTS Defendant Fuentes’s motion to dismiss402 and GRANTS Starr County’s motion

to dismiss.403 The Court DENIES Plaintiffs’ motion to amend404 to the extent Plaintiffs would

attempt to allege § 1983 claims against Defendants Fuentes or Starr County. Plaintiffs’ claims

under 42 U.S.C. § 1983 with respect to Defendants Fuentes and Starr County are DISMISSED

WITH PREJUDICE.




396
    Dkt. No. 134 at 8, ¶ 13.
397
    See id. ¶¶ 15–16, 20, 37.
398
    Id. at 17, ¶¶ 38–39 (citing M.D. ex rel. Stukenberg v. Abbott, 907 F.3d 237, 254–55 (5th Cir. 2018)).
399
    M.D., 907 F.3d at 255.
400
    See supra notes 340, 394–395 and accompanying text.
401
    Peterson v. City of Fort Worth, 588 F.3d 838, 851 (5th Cir. 2009) (quoting Piotrowski v. City of Houston, 237
F.3d 567, 582 (5th Cir. 2001)).
402
    Dkt. No. 130.
403
    Dkt. No. 131.
404
    Dkt. No. 144.


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                   iv. Claim for Violation of Americans with Disabilities Act and the Rehabilitation
                       Act Against the County of Starr, Texas

            Plaintiffs’ sixth cause of action is brought under the Americans with Disabilities Act405

and the Rehabilitation Act406 against Starr County.407 Having reviewed Starr County’s motion to

dismiss,408 the Court agrees with Plaintiffs that “Starr County does not specifically contest

[Plaintiffs’] claims arising under the Rehabilitation Act (RA) and the Americans with Disability

[sic] Act (ADA).”409 Starr County also does not appear to dispute Plaintiffs’ motion for leave to

file a Third Amended Complaint to the extent Plaintiffs attempt to allege a claim under the

Americans with Disabilities Act or the Rehabilitation Act. 410 Accordingly, the Court does not

interpret Defendant Starr County to oppose Plaintiffs’ motion to amend on the grounds of

futility.

               2. Whether the Proposed Amended Complaint is Filed with Undue Delay

            All of Plaintiffs’ claims are dismissed with prejudice save for Plaintiffs’ sixth cause of

action under the Americans with Disabilities Act and the Rehabilitation Act against Starr

County. The Court now turns to the other factors regarding whether the Court should permit

leave to amend under Federal Rule of Civil Procedure 15, beginning with undue delay.411

            The Fifth Circuit held that “[l]iberality in pleading does not bestow on a litigant the

privilege of neglecting her case for a long period of time. Accordingly, we have indicated that, in

exercising its discretion to deny leave to amend a complaint, a trial court may properly consider

(1) an unexplained delay following an original complaint, and (2) whether the facts underlying



405
    42 U.S.C. § 12132.
406
    29 U.S.C. § 701.
407
    See Dkt. No. 144-1 at 33–34, ¶¶ 203–213.
408
    Dkt. No. 134.
409
    Dkt. No. 134 at 23, ¶ 56.
410
    See Dkt. No. 149.
411
    See supra note 61.


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the amended complaint were known to the party when the original complaint was filed.”412

However, the delay must be undue in the sense that “it must prejudice the nonmoving party or

impose unwarranted burdens on the court.”413 Although Defendants are correct that Plaintiffs

delayed for one and a half years before filing their first complaint and likely had access to all

relevant factual reports long before seeking the two amendments previously granted,414

Defendants have not established why the delay is undue or will impose prejudice. The Court

agrees with Plaintiffs that, because the motion to amend was filed before any discovery

commenced and before the Court ruled on any motions to dismiss, the motion does not cause

“undue delay.”415 Accordingly, this factor weighs in favor of permitting leave to amend.

             3. Whether the Proposed Amended Complaint is Filed with Bad Faith or Dilatory
                Motive

          Defendants argue only that Plaintiffs’ motion to amend is filed with a dilatory purpose or

is marked by procrastination.416 Defendants offer no facts or legal authority to support their

position. The Court holds that Defendants have failed to establish any dilatory motive or bad

faith on the part of Plaintiffs, such as “tactical maneuvers to force the court to consider various

theories seriatim” after the Court dismissed a previous theory.417 Accordingly, this factor weighs

in favor of permitting leave to amend.

             4. Whether Plaintiffs have Repeatedly Failed to Cure Deficiencies by Previous
                Amendments

          Defendants argue that, where Plaintiffs have already filed an original complaint and two

amended complaints, yet another attempt to amend demonstrated repeated failures. 418 Plaintiffs


412
    In re Southmark Corp., 88 F.3d 311, 315–16 (5th Cir. 1996) (quotations and footnotes omitted).
413
    Mayeaux v. La. Health Serv. & Indem. Co., 376 F.3d 420, 427 (5th Cir. 2004).
414
    See Dkt. No. 149 at 3.
415
    Dkt. No. 152 at 1–3, ¶¶ 3–5.
416
    Dkt. No. 149 at 5.
417
    Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 599 (5th Cir. 1981).
418
    Dkt. No. 149 at 5–6 (citing United States ex rel. Hebert v. Dizney, 295 F. App'x 717, 725 (5th Cir. 2008)).


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attempt to distinguish Defendants’ cited case by characterizing it as faulting the plaintiff for

failing to seek leave to amend prior to dismissal, but the Fifth Circuit described that ground as a

mere addition to its larger holding that, where the plaintiff had filed three complaints each

alleging the same types of claims, the plaintiff had already had ample opportunity and need not

be granted further leave.419 Furthermore, Plaintiffs admit that many of the underlying facts and

reports were already available at the time of Plaintiffs’ original complaint and earlier

amendments.420 Accordingly, this factor weighs against permitting leave to amend.

             5. Whether the Proposed Amended Complaint Will Impose Undue Prejudice to
                Defendants

          Defendants argue that they will prejudiced by a grant of Plaintiffs’ leave to amend

because they have already filed dispositive motions to dismiss and will incur additional

attorneys’ fees by briefing the issues again.421 However, the Court has ruled on the motions to

dismiss. Granting leave to amend will not require any Defendant “to reopen discovery and

prepare a defense for a claim different from the [one] ... that was before the court.”422

Accordingly, this factor weighs in favor of permitting leave to amend.

          Having examined all factors relevant to Plaintiffs’ motion for leave to file their Third

Amended Complaint,423 the Court finds that amendment should be permitted except to the extent

delimited above. Accordingly, the Court GRANTS Plaintiffs’ motion to amend their Americans

with Disabilities Act and the Rehabilitation Act claims against Starr County. 424 Leave to amend

is DENIED to the extent Plaintiffs would attempt to allege any claims against the United States

under the Federal Tort Claims Act or against United States Customs and Border Protection

419
    See Dizney, 295 F. App’x at 725.
420
    See Dkt. No. 152 at 4, ¶ 9.
421
    Dkt. No. 149 at 6–7 (citing Dueling v. Devon Energy Corp., 623 F. App'x 127, 130 (5th Cir. 2015)).
422
    Smith v. EMC Corp., 393 F.3d 590, 596 (5th Cir. 2004) (alteration and ellipsis in original) (quotation omitted).
423
    Dkt. No. 144.
424
    Id.


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agents under the Bivens doctrine or against Defendants Alex Garcia, Crecencio Galvan, Evelario

Garza, Clyde Guerra, Hector Lopez, Sammy Marroquin, Raul Garcia, Sheriff Rene “Orta”

Fuentes, or Starr County under 42 U.S.C. § 1983. This holding resolves all of the motions to

dismiss and Plaintiffs’ motion to amend.

      IV. MOTION TO STAY DISCOVERY

          The Court now considers the “Opposed Motion to Stay Discovery and Disclosure” filed

by State Defendants Hector Lopez, Evelario Garza, Crecencio Galvan, Clyde Guerra, Alex

Garcia, Sheriff Rene “Orta” Fuentes, and Starr County.425 The State Defendants invoke Fifth

Circuit precedent that discovery should not be allowed until the Court’s resolution of the

qualified immunity defense.426 The “Bivens defendants,” Alvaro A. Guajardo-Martinez,

Christopher R. Garza, Abram Lerma, and Jorge Flores, also oppose discovery.427 In response,

Plaintiffs assert that “[w]hile Fifth Circuit precedent requires that general discovery be stayed

until the question of qualified immunity is resolved, Plaintiffs have alleged facts that, if true,

overcome the defense of qualified immunity. Therefore, Plaintiffs seek limited discovery on the

issue of whether the defense applies.”428

          As elaborated in Section III.b.1.iii above,429 the Court has made its ruling on the

applicable qualified immunity defense and does not need further factual development. The Court

holds that Plaintiffs have not pled allegations that would overcome the defense of qualified

immunity. Furthermore, the Court has dismissed with prejudice all claims against CBP agents,

Starr County jailers, and the Starr County policymaker and Starr County itself. Accordingly,



425
    Dkt. No. 132.
426
    Dkt. No. 132 at 2 (citing Elliott v. Perez, 751 F.2d 1472, 1478 (5th Cir. 1985), abrogated on other grounds
by Leatherman v. Tarrant Cty. Narcotics Intel. & Coordination Unit, 507 U.S. 163 (1993)).
427
    Dkt. No. 139.
428
    Dkt. No. 135 at 1.
429
    See supra notes 312–321 and accompanying text.


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Plaintiffs do not need discovery to analyze the qualified immunity defense. The motion to stay

discovery and disclosure430 is DENIED AS MOOT.

      V. CONCLUSION AND HOLDING

          For the reasons elaborated above, the Court GRANTS the United States’ motion to

dismiss,431 the individual CBP agents’ motion to dismiss,432 the individual State Defendants’

motions to dismiss,433 Defendant Sheriff Fuentes’s motion to dismiss,434 and Starr County’s

motion to dismiss.435 Plaintiffs’ first, second, and third causes of action under the Federal Tort

Claims Act; Plaintiffs’ fourth cause of action under the Bivens doctrine; and Plaintiffs’ fifth

cause of action under 42 U.S.C. § 1983 are all DISMISSED WITH PREJUDICE. The motion

to stay discovery436 is DENIED AS MOOT. Plaintiffs’ motion for leave to amend437 is

GRANTED IN PART and DENIED IN PART. Plaintiffs’ only remaining claim is their claim

under the Americans with Disabilities Act and the Rehabilitation Act against the County of Starr,

Texas. Plaintiffs are GRANTED leave to amend to plead only that claim. The Clerk of the Court

is instructed to terminate all Defendants except for Starr County. Plaintiffs are ORDERED to

file an amended complaint consistent with this opinion and order, or otherwise advise the Court

as to how progress will be made in this case, no later than July 17, 2020.

          IT IS SO ORDERED.

          DONE at McAllen, Texas, this 30th day of June 2020.


                                                       ___________________________________
                                                                    Micaela Alvarez
                                                               United States District Judge



430
    Dkt. No. 132.
431
    Dkt. No. 99.
432
    Dkt. No. 124.
433
    Dkt. Nos. 125, 126, 127, 128, 129, 142, and 143.
434
    Dkt. No. 130
435
    Dkt. No. 131.
436
    Dkt. No. 132.
437
    Dkt. No. 144.


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